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       [See List of Plaintiffs, attached as Exhibit A]
     8
     9                        UNITED STATES DISTRICT COURT
    10                       CENTRAL DISTRICT OF CALIFORNIA
    11 ALCOA INC.; ALPHA THERAPEUTIC      ) Case No.: 2:14-cv-06456 GW (Ex.)
       CORPORATION; APPLIED MICRO         )
    12 CIRCUITS CORP.; ARLON, LLC; ASTRO ) FIFTH AMENDED
       ALUMINUM TREATING CO., INC.; BASF ) COMPLAINT
    13 CORPORATION; BAXTER HEALTHCARE )
       CORPORATION; CAL-TAPE & LABEL      )
    14 CO.; CALIFORNIA HYDROFORMING       )   1. Contribution; Comprehensive
       COMPANY, INC.; CINTAS              )       Environmental Response
    15 CORPORATION; COLUMBIA SHOWCASE)            Compensation and Liability
       & CABINET COMPANY, INC.; COUNTY )          Act, 42 U.S.C. § 9601, et seq.;
    16 OF LOS ANGELES; CROSBY &           )   2. Abatement of Imminent and
       OVERTON, INC.; DISNEY ENTERPRISES, )       Substantial Endangerment,
    17 INC.; FHL GROUP; FORENCO, INC.;    )       Resource Conservation and
       GENERAL DYNAMICS CORPORATION; )            Recovery Act, 42 U.S.C. §
    18 GULFSTREAM AEROSPACE               )       6901, et seq.; and
       CORPORATION; HERCULES              )   3. Declaratory Judgment For
    19 INCORPORATED; HEXCEL               )       Contribution
       CORPORATION; HONEYWELL             )
    20 INTERNATIONAL INC.;                )
       INGERSOLL-RAND COMPANY;            )
    21 INTERNATIONAL PAPER COMPANY;       )
       JOHNS MANVILLE; KIMBERLY-CLARK )
    22 WORLDWIDE, INC.; KINDER MORGAN )
       LIQUIDS TERMINALS LLC; LOS         )
    23 ANGELES COUNTY METROPOLITAN        )
       TRANSPORTATION AUTHORITY;          )
    24 MASCO CORPORATION OF INDIANA; )
       MATTEL, INC.; MERCK SHARP &        )
    25 DOHME CORPORATION;                 )
       NBCUNIVERSAL MEDIA, LLC; PACIFIC )
    26 BELL TELEPHONE COMPANY;            )
       PILKINGTON GROUP LIMITED; QUEST )
    27 DIAGNOSTICS CLINICAL               )
       LABORATORIES, INC.; RAYTHEON       )
    28 COMPANY; RIO TINTO AUM COMPANY; )
       SAFETY-KLEEN SYSTEMS, INC.;        )
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     1 SCRIPTO-TOKAI CORPORATION;                )
       SEMPRA GLOBAL; SHILEY, LLC;               )
     2 SIGNET ARMORLITE, INC.; SOCO WEST, )
       INC.; SONOCO PRODUCTS COMPANY; )
     3 SPARTON TECHNOLOGY, INC.; TEXACO)
       INC.; TEXAS INSTRUMENTS                   )
     4 INCORPORATED; THE BOEING                  )
       COMPANY; THE DOW CHEMICAL                 )
     5 COMPANY; THE REGENTS OF THE               )
       UNIVERSITY OF CALIFORNIA; THE             )
     6 SHERWIN-WILLIAMS COMPANY;                 )
       TRANE U.S., INC.; TRIMAS                  )
     7 CORPORATION; UNION OIL COMPANY )
       OF CALIFORNIA; UNIVAR USA INC.;           )
     8 UNIVERSAL CITY STUDIOS LLC; AND )
       YORT, INC.                                )
     9                                           )
                           Plaintiffs,           )
    10                                           )
                     v.                          )
    11                                           )
       APC INVESTMENT CO.; ASSOCIATED )
    12 PLATING COMPANY; ASSOCIATED               )
       PLATING COMPANY, INC.; BODYCOTE )
    13 THERMAL PROCESSING, INC.; BURKE )
       STREET, LLC; POWERINE OIL                 )
    14 COMPANY; CONTINENTAL HEAT                 )
       TREATING, INC.; CONTINENTAL               )
    15 DEVELOPMENT COMPANY, LP, through )
       its surviving general partner CONTINENTAL )
    16 HEAT TREATING, INC.; CLAUDETTE            )
       EARL, AN INDIVIDUAL; EARL MFG. CO.,)
    17 INC.; EXXONMOBIL OIL                      )
       CORPORATION.; FERRO CORP.;                )
    18 FIRMENICH, INC.; FOSS PLATING             )
       COMPANY, INC.; GORDON E. MCCANN, )
    19 AN INDIVIDUAL; LYNNEA R. MCCANN, )
       AN INDIVIDUAL; DARRELL K.                 )
    20 GOLNICK, AN INDIVIDUAL; CLARE S. )
       GOLNICK, AN INDIVIDUAL; CHERYL A. )
    21 GOLNICK, AN INDIVIDUAL; KEKROPIA, )
       INC.; MISSION LINEN SUPPLY;               )
    22 MOMENTIVE SPECIALTY CHEMICALS, )
       INC.; WILLIAM K. PALLEY, AN               )
    23 INDIVIDUAL; PALLEY SUPPLY                 )
       COMPANY; PALMTREE ACQUISITION )
    24 CORPORATION; PHIBRO-TECH, INC.;           )
       PILOT CHEMICAL CORP.; PMC                 )
    25 SPECIALTIES GROUP, INC.; UNION            )
       PACIFIC RAILROAD COMPANY; AND )
    26 FIRST DICE ROAD COMPANY, INC.;            )
       HALLIBURTON AFFILIATES, LLC; and )
    27 Does 1 – 250, INCLUSIVE                   )
                                                 )
    28                     Defendants.           )
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     1         Plaintiffs Alcoa Inc.; Alpha Therapeutic Corporation; Applied Micro Circuits
     2 Corp.; Arlon, LLC; Astro Aluminum Treating Co., Inc.; BASF Corporation; Baxter
     3 Healthcare Corporation; Cal-Tape & Label Co.; California Hydroforming Company,
     4 Inc.; Cintas Corporation; Columbia Showcase & Cabinet Company, Inc.; County of
     5 Los Angeles; Crosby & Overton, Inc.; Disney Enterprises, Inc.; FHL Group; Forenco,
     6 Inc.; General Dynamics Corporation; Gulfstream Aerospace Corporation; Hercules
     7 Incorporated; Hexcel Corporation; Honeywell International Inc.; Ingersoll-Rand
     8 Company; International Paper Company; Johns Manville; Kimberly-Clark
     9 Worldwide, Inc.; Kinder Morgan Liquids Terminals LLC; Los Angeles County
    10 Metropolitan Transportation Authority; Masco Corporation of Indiana; Mattel, Inc.;
    11 Merck Sharp & Dohme Corporation; NBCUniversal Media, LLC; Pacific Bell
    12 Telephone Company; Pilkington Group Limited; Quest Diagnostics Clinical
    13 Laboratories, Inc.; Raytheon Company; Rio Tinto AUM Company; Safety-Kleen
    14 Systems, Inc.; Scripto-Tokai Corporation; Sempra Global; Shiley, LLC; Signet
    15 Armorlite, Inc.; Soco West, Inc.; Sonoco Products Company; Sparton Technology,
    16 Inc.; Texaco Inc.; Texas Instruments Incorporated; The Boeing Company; The Dow
    17 Chemical Company; The Regents of the University of California; The
    18 Sherwin-Williams Company; Trane U.S., Inc.; TriMas Corporation; Union Oil
    19 Company of California; Univar USA Inc.; Universal City Studios LLC; and Yort, Inc.
    20 (collectively, “Plaintiffs”), by their attorneys, Proskauer Rose LLP, against
    21 Defendants APC Investment Co.; Associated Plating Company; Associated Plating
    22 Company, Inc. (f/k/a Associated Plating Acquisition Corp.); Bodycote Thermal
    23 Processing, Inc.; Burke Street, LLC; Powerine Oil Company; Continental Heat
    24 Treating, Inc.; Continental Development Company, LP, through its surviving general
    25 partner Continental Heat Treating, Inc.; Claudette Earl, an individual; Earl Mfg. Co.,
    26 Inc.; ExxonMobil Oil Corporation; Ferro Corp.; Firmenich, Inc.; Foss Plating
    27 Company, Inc.; Gordon E. McCann, an individual; Lynnea R. McCann, an individual;
    28 Darrell K. Golnick, an individual; Clare S. Golnick, an individual; Cheryl A. Golnick,


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     1 an individual; Kekropia, Inc.; Mission Linen Supply; Momentive Specialty
     2 Chemicals, Inc.; William K. Palley, an individual; Palley Supply Company; Palmtree
     3 Acquisition Corporation; Phibro-Tech, Inc.; Pilot Chemical Corp.; PMC Specialties
     4 Group, Inc.; Union Pacific Railroad Company; First Dice Road Company;
     5 Halliburton Affiliates, LLC; and DOES 1 through 250 (collectively, “Defendants”),
     6 allege upon knowledge as to themselves and upon information and belief as to others,
     7 the following:
     8                              NATURE OF THE ACTION
     9         1.    This is a civil action arising from environmental contamination caused
    10 by Defendants and by which Plaintiffs seek contribution and a declaratory judgment
    11 under sections 113(f) and 113(g)(2) of the federal Comprehensive Environmental
    12 Response, Compensation and Liability Act, as amended 42 U.S.C. §§ 9601-9675
    13 (“CERCLA”); and abatement of an imminent and substantial endangerment to health
    14 or the environment under section 7002 of the federal Resource Conservation and
    15 Recovery Act, as amended 42 U.S.C. §§ 6901-6992k (“RCRA”).
    16         2.    Groundwater underlying portions of the Whittier and Santa Fe Springs
    17 communities is purportedly contaminated with high concentrations of numerous
    18 substances that are hazardous to the environment and human health, including
    19 hexavalent chromium and chlorinated and non-chlorinated solvents. According to the
    20 United States Environmental Protection Agency (“EPA”), action to address the
    21 contamination is necessary to protect the public health and the environment. EPA has
    22 designated this regional groundwater contamination, which covers an area
    23 approximately 4½ miles long, as Operable Unit No. 2 of the Omega Superfund Site
    24 (the “OU-2 Facility”).
    25         3.    For decades, Defendants have owned properties or operated businesses,
    26 or arranged for the treatment of wastes at businesses, that sit atop or very near the
    27 OU-2 Facility at which substantial quantities of hazardous substances and hazardous
    28 waste, including chlorinated and non-chlorinated solvents and hexavalent chromium,


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     1 have been spilled or discharged onto the ground and migrated downward into the soil
     2 and groundwater. These businesses include chemical manufacturing or processing
     3 plants, industrial laundry operations, businesses that perform mechanical work,
     4 painting, detailing and spot chroming on automobiles, oil production and refining
     5 plants, manufacturing plants, and metal processing plants. The soil and groundwater
     6 underlying these source properties have been contaminated by operations conducted
     7 there, resulting in multiple plumes of contamination that have blended together into
     8 regional groundwater contamination.
     9         4.    EPA has evaluated many Defendants in connection with the OU-2
    10 Facility and has concluded that certain of them are potentially responsible parties
    11 (“PRPs”) warranting receipt of a Special Notice Letter (“SNL”) from EPA. In the
    12 SNL sent to these Defendants (the “SNL Defendants”), the EPA identifies each
    13 recipient as potentially liable under CERCLA Section 107 for the OU-2 Facility
    14 groundwater contamination as well as past and future costs to clean up that
    15 contamination, provides information concerning its basis for this conclusion, and
    16 solicits offers from the SNL Defendants to (a) perform the OU-2 Facility remedial
    17 design and remedial action selected by EPA and (b) pay the unreimbursed response
    18 costs EPA has incurred in connection with the OU-2 Facility. According to EPA, the
    19 primary purposes of each SNL are to invoke the statutory moratorium on certain EPA
    20 actions and to initiate formal settlement negotiations with the recipient for a response
    21 action and the recovery of EPA’s unreimbursed costs.
    22         5.    EPA also utilizes General Notice Letters (“GNLs”), which inform the
    23 recipient that EPA considers it potentially liable for cleanup costs at a Superfund site
    24 and invite the recipient to discuss its involvement at the site. Each GNL also serves to
    25 begin or continue the process of information exchange, and to initiate the process of
    26 “informal” negotiations with EPA. Generally speaking, EPA issues a GNL after
    27 concluding that there is sufficient information to name the recipient as a PRP, and as a
    28 means to open a dialogue with EPA and to offer the recipient an opportunity to


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     1 explain why it should not receive an SNL. EPA sent GNLs to several PRP
     2 Defendants (the “GNL Defendants”) that identify the GNL Defendants as potentially
     3 liable under CERCLA Section 107 for the OU-2 Facility groundwater contamination,
     4 and for past and future costs to clean up that contamination. The GNLs all requested
     5 responses as to the GNL Defendants’ willingness to negotiate regarding their
     6 potential liability for the OU-2 Facility response costs.
     7         6.    Upon information and belief, EPA recognizes that there are a large
     8 number of industrial properties that occupy the OU-2 Facility, continues to evaluate
     9 whether there are additional source properties and PRPs as time and resources allow,
    10 and encourages those persons and entities it has already named as PRPs to perform
    11 the work necessary to identify other PRPs.
    12         7.    Plaintiffs, or their predecessors, affiliated entities, assignees or obligees,
    13 are companies that allegedly sent chemicals to Omega Chemical Corporation
    14 (“Omega Chemical”) in Whittier for appropriate processing and recycling. EPA
    15 contends that Omega Chemical failed to properly process, recycle or dispose of those
    16 chemicals, resulting in groundwater contamination, and that Plaintiffs are responsible
    17 to remediate the groundwater contamination underneath the Omega Chemical
    18 property.
    19         8.    EPA, however, has not limited Plaintiffs’ responsibility for remediation
    20 to the groundwater underneath the Omega Chemical property. Because EPA
    21 contends that the Omega Chemical property is one of multiple source properties of the
    22 OU-2 Facility groundwater contamination, and that CERCLA imposes joint and
    23 several liability for releases of hazardous substances in actions brought by the
    24 government, EPA asserts that Plaintiffs are responsible for remediating the OU-2
    25 Facility.
    26         9.    Plaintiffs have each voluntarily incurred significant costs to investigate
    27 the sources to, and the remediation of, the OU-2 Facility, collectively spending
    28 millions of dollars to address it, and may incur millions of dollars more in future


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     1 response costs. EPA has determined that the contaminated groundwater should be
     2 contained, extracted, and treated so that it can be used in a beneficial manner. This
     3 remedy will require tens of millions of dollars in capital and operating expenditures
     4 for years to come. Upon information and belief, Defendants are responsible for
     5 releases of hazardous substances to the OU-2 Facility groundwater and therefore
     6 should bear the costs to clean up the resulting contamination.
     7         10.   EPA’s proposal to contain regional groundwater to address the
     8 contaminants that have already migrated away from Defendants’ properties, however,
     9 would not address the imminent and substantial endangerment to human health and
    10 the environment that is presented by the failure of some of the Defendants to
    11 implement source control measures to prevent groundwater exceeding health-based
    12 levels from continuing to leave the source property as a result of contaminated on-site
    13 soils or other on-site contamination including groundwater above health-based levels
    14 that is directly below site sources. The lack of adequate property source control at
    15 numerous Defendant properties results in groundwater exceeding health-based levels
    16 continuing to migrate into OU2. The Defendants associated with those source
    17 properties have thus far failed to adequately address the problem, despite having been
    18 on notice of the contamination for a very long time. In addition, without appropriate
    19 monitoring to determine the extent of offsite groundwater contamination resulting
    20 from each Defendants’ handling of solid or hazardous waste at their properties,
    21 including contaminated soils, and without measures to control the contamination at its
    22 source, the contamination will continue to pose a threat to human health and the
    23 environment, and swell the costs and duration of efforts to contain and eventually
    24 clean-up the OU2 groundwater.
    25         11.   By this action, Plaintiffs seek to recover from Defendants the necessary
    26 costs of response that Plaintiffs have incurred and will continue to incur in a manner
    27 consistent with the National Contingency Plan (“NCP”), 40 C.F.R. Part 300 et seq.,
    28 caused by the release or threatened release of hazardous substances that have


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     1 contaminated the OU-2 Facility groundwater. Plaintiffs also seek a declaratory
     2 judgment that Defendants are liable for future response costs or damages that will be
     3 binding on any subsequent actions to recover further response costs or damages.
     4 Through this suit, Plaintiffs also seek an injunction requiring certain Defendants to
     5 stop the release of the hazardous substances coming from the source properties they
     6 own or operate and to remediate the soil and groundwater contamination emanating
     7 from their source properties to control the further spread and migration of the
     8 hazardous substances in the OU-2 Facility.
     9                                        PARTIES
    10         A.    Plaintiffs
    11         12.   Plaintiff Alcoa Inc. is a corporation duly organized and existing under
    12 the laws of the State of Pennsylvania with its principal place of business in New York,
    13 New York.
    14         13.   Plaintiff Alpha Therapeutic Corporation is a corporation duly organized
    15 and existing under the laws of the state of California with its principal place of
    16 business in New York, New York.
    17         14.   Plaintiff Applied Micro Circuits Corp. is a corporation duly organized
    18 and existing under the laws of the state of Delaware with its principal place of
    19 business in Sunnyvale, California.
    20         15.   Plaintiff Arlon, LLC is a limited liability company duly organized and
    21 existing under the laws of the State of Delaware with its principal place of business in
    22 Bear, Delaware.
    23         16.   Plaintiff Astro Aluminum Treating Co., Inc. is a corporation duly
    24 organized and existing under the laws of the State of California with its principal
    25 place of business in South Gate, California.
    26         17.   Plaintiff BASF Corporation is a corporation duly organized and existing
    27 under the laws of the State of Delaware with its principal place of business in Florham
    28 Park, New Jersey.


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     1         18.    Plaintiff Baxter Healthcare Corporation is a corporation duly organized
     2 and existing under the laws of the State of Delaware with its principal place of
     3 business in Deerfield, Illinois.
     4         19.    Plaintiff Cal-Tape & Label Co. is a corporation duly organized and
     5 existing under the laws of the State of California with its principal place of business in
     6 Anaheim, California.
     7         20.    Plaintiff California Hydroforming Company, Inc. is a corporation duly
     8 organized and existing under the laws of the State of California with its principal
     9 place of business in City of Industry, California.
    10         21.    Plaintiff Cintas Corporation is a corporation duly organized and existing
    11 under the laws of the State of Washington with its principal place of business in
    12 Mason, Ohio.
    13         22.    Plaintiff Columbia Showcase & Cabinet Company, Inc. is a corporation
    14 duly organized and existing under the laws of the State of California with its principal
    15 place of business in Sun Valley, California.
    16         23.    Plaintiff County of Los Angeles is a public entity and duly constituted
    17 California governmental entity.
    18         24.    Plaintiff Crosby & Overton, Inc. is a corporation duly organized and
    19 existing under the laws of the State of California with its principal place of business in
    20 Long Beach, California.
    21         25.    Plaintiff Disney Enterprises, Inc. is a corporation duly organized and
    22 existing under the laws of the State of Delaware with its principal place of business in
    23 Burbank, California.
    24         26.    Plaintiff FHL Group is a corporation duly organized and existing under
    25 the laws of the State of California with its principal place of business in Palos Verdes
    26 Estates, California.
    27         27.    Plaintiff Forenco, Inc. is a corporation duly organized and existing under
    28 the laws of the State of Illinois with its principal place of business in Chicago, Illinois.


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     1         28.   Plaintiff General Dynamics Corporation is a corporation duly organized
     2 and existing under the laws of the State of Delaware with its principal place of
     3 business in Falls Church, Virginia.
     4         29.   Plaintiff Gulfstream Aerospace Corporation is a corporation duly
     5 organized and existing under the laws of the State of Georgia with its principal place
     6 of business in Savannah, Georgia.
     7         30.   Plaintiff Hercules Incorporated is a corporation duly organized and
     8 existing under the laws of the State of Delaware with its principal place of business in
     9 Lexington, Kentucky.
    10         31.   Plaintiff Hexcel Corporation is a corporation duly organized and existing
    11 under the laws of the State of Delaware with its principal place of business in
    12 Stamford, Connecticut.
    13         32.   Plaintiff Honeywell International Inc. is a corporation duly organized
    14 and existing under the laws of the State of Delaware with its principal place of
    15 business in Morristown, New Jersey.
    16         33.   Plaintiff Ingersoll-Rand Company is a corporation duly organized and
    17 existing under the laws of the State of New Jersey with its principal place of business
    18 in Piscataway, New Jersey.
    19         34.   Plaintiff International Paper Company is a corporation duly organized
    20 and existing under the laws of the State of New York with its principal place of
    21 business in Memphis, Tennessee.
    22         35.   Plaintiff Johns Manville is a corporation duly organized and existing
    23 under the laws of Delaware with its principal place of business in Denver, Colorado.
    24         36.   Plaintiff Kimberly-Clark Worldwide, Inc. is a corporation duly
    25 organized and existing under the laws of the State of Delaware with its principal place
    26 of business in Irving, Texas.
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     1         37.   Plaintiff Kinder Morgan Liquids Terminals LLC is a limited liability
     2 company duly organized and existing under the laws of the State of Delaware with its
     3 principal place of business in Houston, Texas.
     4         38.   Plaintiff Los Angeles County Metropolitan Transportation Authority is a
     5 public corporation and county commission, duly authorized by California law to plan,
     6 construct and operate public mass transit in the County of Los Angeles.
     7         39.   Plaintiff Mattel, Inc. is a corporation duly organized and existing under
     8 the laws of the State of Delaware with its principal place of business in El Segundo,
     9 California.
    10         40.   Plaintiff Masco Corporation of Indiana is a corporation duly organized
    11 and existing under the laws of the State of Indiana with its principal place of business
    12 in Taylor, Michigan.
    13         41.   Plaintiff Merck Sharp & Dohme Corporation is a corporation duly
    14 organized and existing under the laws of the State of New Jersey with its principal
    15 place of business in Whitehouse Station, New Jersey.
    16         42.   Plaintiff NBCUniversal Media, LLC is a limited liability company duly
    17 organized and existing under the laws of the State of Delaware with its principal place
    18 of business in New York, New York.
    19         43.   Plaintiff Pacific Bell Telephone Company is a corporation duly
    20 organized and existing under the laws of the State of California with its principal
    21 place of business in San Francisco, California.
    22         44.   Plaintiff Pilkington Group Limited, formerly known as Pilkinton PLC, is
    23 a private limited company duly organized and existing under the laws of England with
    24 its principal place of business in Lathom, England.
    25         45.   Plaintiff Quest Diagnostics Clinical Laboratories, Inc. is a corporation
    26 duly organized and existing under the laws of the State of Delaware with its principal
    27 place of business in Madison, New Jersey.
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     1         46.    Plaintiff Raytheon Company is a corporation duly organized and
     2 existing under the laws of the State of Delaware with its principal place of business in
     3 Waltham, Massachusetts.
     4         47.    Plaintiff Rio Tinto AUM Company is a corporation duly organized and
     5 existing under the laws of the State of Delaware with its principal place of business in
     6 South Jordan, Utah.
     7         48.    Plaintiff Safety-Kleen Systems, Inc. is a corporation duly organized and
     8 existing under the laws of the State of Wisconsin with its principal place of business
     9 in Norwell, Massachusetts.
    10         49.    Plaintiff Scripto-Tokai Corporation is a corporation duly organized and
    11 existing under the laws of the State of Delaware with its principal place of business in
    12 Ontario, California.
    13         50.    Plaintiff Sempra Global is a corporation duly organized and existing
    14 under the laws of the State of Delaware with its principal place of business in San
    15 Diego, California.
    16         51.    Plaintiff Shiley, LLC is a limited liability company duly organized and
    17 existing under the laws of the State of California with its principal place of business in
    18 New York, New York.
    19         52.    Plaintiff Signet Armorlite, Inc. is a corporation duly organized and
    20 existing under the laws of the State of Delaware with its principal place of business in
    21 Dallas, Texas.
    22         53.    Plaintiff Soco West, Inc. is a corporation duly organized and existing
    23 under the laws of the State of Delaware with its principal place of business in
    24 Stamford, Connecticut.
    25         54.    Plaintiff Sonoco Products Company is a corporation duly organized and
    26 existing under the laws of the State of South Carolina with its principal place of
    27 business in Hartsville, South Carolina.
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     1         55.    Plaintiff Sparton Technology, Inc. is a corporation duly organized and
     2 existing under the laws of the New Mexico with its principal place of business in
     3 Schaumberg, Illinois.
     4         56.    Plaintiff Texaco Inc. is a corporation duly organized and existing under
     5 the laws of the State of Delaware with its principal place of business in San Ramon,
     6 California.
     7         57.    Plaintiff Texas Instruments Incorporated is a corporation duly organized
     8 and existing under the laws of the State of Delaware with its principal place of
     9 business in Dallas, Texas.
    10         58.    Plaintiff The Boeing Company is a corporation duly organized and
    11 existing under the laws of the State of Delaware with its principal place of business in
    12 Chicago, Illinois.
    13         59.    Plaintiff The Dow Chemical Company is a corporation duly organized
    14 and existing under the laws of the State of Delaware with its principal place of
    15 business in Midland, Michigan.
    16         60.    Plaintiff The Regents of the University of California is, and at all times
    17 relevant to this action was, pursuant to Article IX, Section 9, subdivisions (a) and (f)
    18 of the California Constitution, a California constitutional corporation, authorized and
    19 empowered to administer a public trust known as the University of California, with
    20 full powers of organization and government thereof, including all powers necessary
    21 or convenient for the effective administration of the trust with its principal place of
    22 business in Oakland, California.
    23         61.    Plaintiff The Sherwin-Williams Company is a corporation duly
    24 organized and existing under the laws of the State of Ohio with its principal place of
    25 business in Cleveland, Ohio.
    26         62.    Plaintiff Trane U.S., Inc. is a corporation duly organized and existing
    27 under the laws of the State of Delaware with its principal place of business in
    28 Piscataway, New Jersey.


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     1         63.   Plaintiff TriMas Corporation is a corporation duly organized and
     2 existing under the laws of the State of Delaware with its principal place of business in
     3 Bloomfield Hills, Michigan.
     4         64.   Plaintiff Union Oil Company of California is a corporation duly
     5 organized and existing under the laws of the State of California with its principal
     6 place of business in San Ramon, California.
     7         65.   Plaintiff Univar USA Inc. is a corporation duly organized and existing
     8 under the laws of the State of Washington with its principal place of business in
     9 Downers Grove, Illinois.
    10         66.   Plaintiff Universal City Studios LLC is a limited liability company duly
    11 organized and existing under the laws of the State of Delaware with its principal place
    12 of business in Universal City, California.
    13         67.   Plaintiff Yort, Inc. is a corporation duly organized and existing under the
    14 laws of the State of California with its principal place of business in Andover,
    15 Massachusetts.
    16         B.    Defendants
    17         68.   Each Defendant falls into one of four categories: (i) a PRP that received
    18 an SNL from EPA in connection with its ownership of, or operational activities at, a
    19 contamination source property (“Source Property”); (ii) a PRP that received a GNL
    20 from EPA in connection with its ownership of, or operational activities at, a Source
    21 Property; (iii) a PRP that has not yet received a notice letter from EPA; or (iv) a PRP
    22 that received an SNL from EPA because it sent chemicals to Omega Chemical.
    23               1.     Special Notice Letter Defendant PRPs & Other PRPs
    24                      Associated With SNL Source Properties
    25                      a.    Bodycote SNL Source Property
    26         69.   Defendant Bodycote Thermal Processing, Inc. (“Bodycote”) is a
    27 corporation duly organized and existing under the laws of the Delaware with its
    28 principal place of business in Dallas, Texas. As alleged more fully herein, Bodycote


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     1 is a current or previous “owner” or “operator,” as those terms are defined under
     2 CERCLA, of the Bodycote Source Property, as that term is defined below in
     3 Paragraph 120. As alleged more fully herein, Bodycote is a “person” and is, or was, a
     4 generator, transporter, or owner or operator of a “treatment,” “storage,” or “disposal”
     5 facility who has contributed or is contributing to the past or present handling,
     6 “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or “hazardous
     7 waste,” as those terms are defined under RCRA. Upon information and belief,
     8 Bodycote is a successor-in-interest to Techni-Braze, Inc.
     9                      b.    Chrysler SNL Source Property
    10         70.   Defendant Burke Street, LLC (“Burke Street”) is a limited liability
    11 corporation duly organized and existing under the laws of the State of California with
    12 its principal place of business in Santa Fe Springs, California. As alleged more fully
    13 herein, Burke Street is a current or previous “owner” or “operator,” as those terms are
    14 defined under CERCLA, of the Chrysler Source Property, as that term is defined
    15 below in Paragraph 138.
    16         71.   Defendant Palmtree Acquisition Corporation (“Palmtree”) is a
    17 corporation duly organized and existing under the laws of the State of Delaware with
    18 its principal place of business in Denver, Colorado. As alleged more fully herein,
    19 Palmtree is a current or previous “owner” or “operator,” as those terms are defined
    20 under CERCLA, of the Chrysler Source Property. Upon information and belief,
    21 Palmtree is a successor-in-interest to Southern Pacific Industrial Development
    22 Company.
    23         72.   Defendant Union Pacific Railroad Company. (“Union Pacific”) is a
    24 corporation duly organized and existing under the laws of the State of Delaware with
    25 its principal place of business in Omaha, Nebraska. As alleged more fully herein,
    26 Union Pacific is a current or previous “owner” or “operator,” as those terms are
    27 defined under CERCLA, of the Chrysler Source Property. Upon information and
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     1 belief, Union Pacific is a successor-in-interest to Pacific Electric Railway Company
     2 and Southern Pacific Railroad.
     3                      c.    Earl Mfg. SNL Source Property
     4         73.   Defendant Claudette Earl is an individual. As alleged more fully herein,
     5 Claudette Earl is a current or previous “owner” or “operator,” as those terms are
     6 defined under CERCLA, of the Earl Mfg. Source Property, as that term is defined
     7 below in Paragraph 154. As alleged more fully herein, Claudette Earl is a “person”
     8 and is, or was, a generator, transporter, or owner or operator of a “treatment,”
     9 “storage,” or “disposal” facility who has contributed or is contributing to the past or
    10 present handling, “storage,” “treatment,” transportation, or “disposal” of a “solid
    11 waste” or “hazardous waste,” as those terms are defined under RCRA.
    12         74.   Defendant Earl Mfg. Co., Inc. (“Earl Mfg.”) is a corporation duly
    13 organized and existing under the laws of the State of California with its principal
    14 place of business in Santa Fe Springs, California. As alleged more fully herein, Earl
    15 Mfg. is a current or previous “owner” or “operator,” as those terms are defined under
    16 CERCLA, of the Earl Mfg. Source Property. As alleged more fully herein, Earl Mfg.
    17 is a “person” and is, or was, a generator, transporter, or owner or operator of a
    18 “treatment,” “storage,” or “disposal” facility who has contributed or is contributing to
    19 the past or present handling, “storage,” “treatment,” transportation, or “disposal” of a
    20 “solid waste” or “hazardous waste,” as those terms are defined under RCRA.
    21                      d.    Foss Plating SNL Source Property
    22         75.   Defendant Foss Plating Company, Inc. (“Foss Plating”) is a corporation
    23 duly organized and existing under the laws of the State of California with its principal
    24 place of business in Santa Fe Springs, California. As alleged more fully herein, Foss
    25 Plating is a current or previous “owner” or “operator,” as those terms are defined
    26 under CERCLA, of the Foss Plating Source Property, as that term is defined below in
    27 Paragraph 176. As alleged more fully herein, Foss Plating is a “person” and is, or
    28 was, a generator, transporter, or owner or operator of a “treatment,” “storage,” or


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     1 “disposal” facility who has contributed or is contributing to the past or present
     2 handling, “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or
     3 “hazardous waste,” as those terms are defined under RCRA.
     4                      e.    Mission Linen SNL Source Property
     5         76.   Defendant Mission Linen Supply (“Mission Linen”) is a corporation
     6 duly organized and existing under the laws of the State of California with its principal
     7 place of business in Santa Barbara, California. As alleged more fully herein, Mission
     8 Linen is a current or previous “owner” or “operator,” as those terms are defined under
     9 CERCLA, of the Mission Linen Source Property, as that term is defined below in
    10 Paragraph 194.
    11                      f.    Phibro-Tech SNL Source Property
    12         77.   Defendant Phibro-Tech, Inc. (“Phibro-Tech”) is a corporation duly
    13 organized and existing under the laws of the state of Delaware with its principal place
    14 of business in Teaneck, New Jersey. As alleged more fully herein, Phibro-Tech is a
    15 current or previous “owner” or “operator,” as those terms are defined under
    16 CERCLA, of the Phibro-Tech Source Property and an arranger of hazardous waste
    17 disposal at the Phibro-Tech Source Property, as that term is defined below in
    18 Paragraph 207. Upon information and belief, Phibro-Tech is a successor-in-interest
    19 to Southern California Chemical Company (f/k/a Pacific Western Chemical
    20 Company). As alleged more fully herein, Phibro-Tech is a “person” and is, or was, a
    21 generator, transporter, or owner or operator of a “treatment,” “storage,” or “disposal”
    22 facility who has contributed or is contributing to the past or present handling,
    23 “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or “hazardous
    24 waste,” as those terms are defined under RCRA.
    25         78.   As alleged more fully herein, Defendant Union Pacific is a current or
    26 previous “owner” or “operator,” as those terms are defined under CERCLA, of the
    27 Phibro-Tech Source Property. As alleged more fully herein, Union Pacific is a
    28 “person” and is, or was, a generator, transporter, or owner or operator of a


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     1 “treatment,” “storage,” or “disposal” facility who has contributed or is contributing to
     2 the past or present handling, “storage,” “treatment,” transportation, or “disposal” of a
     3 “solid waste” or “hazardous waste,” as those terms are defined under RCRA.
     4         79.    Defendant First Dice Road Company (“First Dice”) is a limited
     5 partnership duly organized and existing under the laws of the State of California with
     6 its principal place of business in Santa Fe Springs, California. As alleged more fully
     7 herein, Defendant First Dice is a current or previous “owner” or “operator,” as those
     8 terms are defined under CERCLA, of the Phibro-Tech Source Property. As alleged
     9 more fully herein, First Dice is a “person” and is, or was, a generator, transporter, or
    10 owner or operator of a “treatment,” “storage,” or “disposal” facility who has
    11 contributed or is contributing to the past or present handling, “storage,” “treatment,”
    12 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
    13 are defined under RCRA.
    14                      g.     Pilot Chemical SNL Source Property
    15         80.    Defendant Pilot Chemical Corp. (“Pilot”) is a corporation duly
    16 organized and existing under the laws of the State of California with its principal
    17 place of business in Santa Fe Springs, California. As alleged more fully herein, Pilot
    18 is a current or previous “owner” or “operator,” as those terms are defined under
    19 CERCLA, of the Pilot Chemical Source Property and former owner of the Pilot
    20 Chemical Source Property, as that term is defined below in Paragraph 234. As
    21 alleged more fully herein, Pilot is a “person” and is, or was, a generator, transporter,
    22 or owner or operator of a “treatment,” “storage,” or “disposal” facility who has
    23 contributed or is contributing to the past or present handling, “storage,” “treatment,”
    24 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
    25 are defined under RCRA.
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     1               2.     GNL Defendant PRPs & Other PRPs Associated with GNL
     2                      Source Properties
     3                      a.    Continental GNL Source Property
     4         81.   Defendant Continental Heat Treating, Inc. (“Continental”) is a
     5 corporation duly organized and existing under the laws of the State of California with
     6 its principal place of business in Santa Fe Springs, California. As alleged more fully
     7 herein, Continental is a current or previous “owner” or “operator,” as those terms are
     8 defined under CERCLA, of the Continental Source Property, as that term is defined
     9 below in Paragraph 257. As alleged more fully herein, Continental is a “person” and
    10 is, or was, a generator, transporter, or owner or operator of a “treatment,” “storage,”
    11 or “disposal” facility who has contributed or is contributing to the past or present
    12 handling, “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or
    13 “hazardous waste,” as those terms are defined under RCRA.
    14         82.   Defendant Continental Development Company, L.P. (“Continental
    15 Development”) is a purportedly dissolved limited partnership that was duly organized
    16 and existing under the laws of the State of California with its principal place of
    17 business in Santa Fe Springs, California. Upon information and belief, Plaintiffs
    18 allege that Defendant Continental is the surviving general partner of Continental
    19 Development. As alleged more fully herein, Continental Development is a current or
    20 previous “owner” or “operator,” as those terms are defined under CERCLA, of the
    21 Continental Source Property. As alleged more fully herein, Continental Development
    22 is a “person” and is, or was, a generator, transporter, or owner or operator of a
    23 “treatment,” “storage,” or “disposal” facility who has contributed or is contributing to
    24 the past or present handling, “storage,” “treatment,” transportation, or “disposal” of a
    25 “solid waste” or “hazardous waste,” as those terms are defined under RCRA.
    26 Plaintiffs bring their claims against Continental Development through its surviving
    27 general partner, Continental.
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     1                      b.    Mobil Jalk Fee GNL Source Property
     2         83.   Defendant ExxonMobil Oil Corporation (“ExxonMobil”) is a
     3 corporation duly organized and existing under the laws of the State of New York with
     4 its principal place of business in Irving, Texas. As alleged more fully herein,
     5 ExxonMobil is a current or previous “owner” or “operator,” as those terms are
     6 defined under CERCLA, of the Mobil Jalk Fee Source Property, as that term is
     7 defined below in Paragraph 281. As alleged more fully herein, ExxonMobil is a
     8 “person” and is, or was, a generator, transporter, or owner or operator of a
     9 “treatment,” “storage,” or “disposal” facility who has contributed or is contributing to
    10 the past or present handling, “storage,” “treatment,” transportation, or “disposal” of a
    11 “solid waste” or “hazardous waste,” as those terms are defined under RCRA. Upon
    12 information and belief, ExxonMobil is a successor-in-interest to General Petroleum
    13 Corporation and Mobil Oil Corporation (f/k/a Socony Mobil Oil Company, f/k/a
    14 Standard Oil Company of New York).
    15               3.     Non-Notice Letter Defendant PRPs
    16                      a.    Associated Plating Source Property
    17         84.   Defendant APC Investment Company (“APC”) is a corporation duly
    18 organized and existing under the laws of the State of California with its principal
    19 place of business in Reno, Nevada. As alleged more fully herein, APC is a current or
    20 previous “owner” or “operator,” as those terms are defined under CERCLA, of the
    21 Associated Plating Source Property, as that term is defined below in Paragraph 301.
    22 As alleged more fully herein, APC is a “person” and is, or was, a generator,
    23 transporter, or owner or operator of a “treatment,” “storage,” or “disposal” facility
    24 who has contributed or is contributing to the past or present handling, “storage,”
    25 “treatment,” transportation, or “disposal” of a “solid waste” or “hazardous waste,” as
    26 those terms are defined under RCRA.
    27         85.   Defendant Associated Plating Company, Inc. (f/k/a Associated Plating
    28 Acquisition Corp.) (“Associated Plating Inc.”) is a corporation duly organized and


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     1 existing under the laws of the State of Delaware with its principal place of business in
     2 Santa Fe Springs, California. As alleged more fully herein, Associated Plating Inc. is
     3 a current or previous “owner” or “operator,” as those terms are defined under
     4 CERCLA, of the Associated Plating Source Property. As alleged more fully herein,
     5 Associated Plating Inc. is a “person” and is, or was, a generator, transporter, or owner
     6 or operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
     7 contributing to the past or present handling, “storage,” “treatment,” transportation, or
     8 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
     9 RCRA.
    10         86.   Defendant Associated Plating Company (“Associated Plating”) is a
    11 corporation duly organized and existing under the laws of the State of California with
    12 its principal place of business in Santa Fe Springs, California. As alleged more fully
    13 herein, Associated Plating is a current or previous “owner” or “operator,” as those
    14 terms are defined under CERCLA, of the Associated Plating Source Property. As
    15 alleged more fully herein, Associated Plating is a “person” and is, or was, a generator,
    16 transporter, or owner or operator of a “treatment,” “storage,” or “disposal” facility
    17 who has contributed or is contributing to the past or present handling, “storage,”
    18 “treatment,” transportation, or “disposal” of a “solid waste” or “hazardous waste,” as
    19 those terms are defined under RCRA.
    20         87.   Defendant Gordon E. McCann is an individual, who, upon information
    21 and belief, resides in Santa Ana, California. As alleged more fully herein, Gordon
    22 McCann is a current or previous “owner” or “operator,” as those terms are defined
    23 under CERCLA, of the Associated Plating Source Property. As alleged more fully
    24 herein, Gordon McCann is a “person” and is, or was, a generator, transporter, or
    25 owner or operator of a “treatment,” “storage,” or “disposal” facility who has
    26 contributed or is contributing to the past or present handling, “storage,” “treatment,”
    27 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
    28 are defined under RCRA.


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     1         88.    Defendant Lynnea R. McCann is an individual, who, upon information
     2 and belief, resides in Santa Ana, California. As alleged more fully herein, Lynnea R.
     3 McCann is a current or previous “owner” or “operator,” as those terms are defined
     4 under CERCLA, of the Associated Plating Source Property. As alleged more fully
     5 herein, Lynnea McCann is a “person” and is, or was, a generator, transporter, or
     6 owner or operator of a “treatment,” “storage,” or “disposal” facility who has
     7 contributed or is contributing to the past or present handling, “storage,” “treatment,”
     8 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
     9 are defined under RCRA.
    10         89.    Defendant Darrell K. Golnick is an individual, who, upon information
    11 and belief, resides in Carlsbad, California. As alleged more fully herein, Darrell K.
    12 Golnick is a current or previous “owner” or “operator,” as those terms are defined
    13 under CERCLA, of the Associated Plating Source Property. As alleged more fully
    14 herein, Darrell Golnick is a “person” and is, or was, a generator, transporter, or owner
    15 or operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
    16 contributing to the past or present handling, “storage,” “treatment,” transportation, or
    17 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
    18 RCRA.
    19         90.    Defendant Clare S. Golnick is an individual, who, upon information and
    20 belief, resides in Reno, Nevada. As alleged more fully herein, Clare S. Golnick is a
    21 current or previous “owner” or “operator,” as those terms are defined under
    22 CERCLA, of the Associated Plating Source Property. As alleged more fully herein,
    23 Clare Golnick is a “person” and is, or was, a generator, transporter, or owner or
    24 operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
    25 contributing to the past or present handling, “storage,” “treatment,” transportation, or
    26 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
    27 RCRA.
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     1         91.   Defendant Cheryl A. Golnick is an individual, who, upon information
     2 and belief, resides in Reno, Nevada. As alleged more fully herein, Cheryl A. Golnick
     3 is a current or previous “owner” or “operator,” as those terms are defined under
     4 CERCLA, of the Associated Plating Source Property. As alleged more fully herein,
     5 Cheryl Golnick is a “person” and is, or was, a generator, transporter, or owner or
     6 operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
     7 contributing to the past or present handling, “storage,” “treatment,” transportation, or
     8 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
     9 RCRA.
    10                      b.    Cenco Refining Source Property
    11         92.   Defendant Powerine Oil Company (“Powerine”) is a corporation duly
    12 organized and existing under the laws of the State of California with its principal
    13 place of business in Santa Fe Springs, California. As alleged more fully herein,
    14 Powerine is a current or previous “owner” or “operator,” as those terms are defined
    15 under CERCLA, of the Cenco Refining Source Property as that term is defined below
    16 in Paragraph 321. As alleged more fully herein, Powerine is a “person” and is, or was,
    17 a generator, transporter, or owner or operator of a “treatment,” “storage,” or
    18 “disposal” facility who has contributed or is contributing to the past or present
    19 handling, “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or
    20 “hazardous waste,” as those terms are defined under RCRA.
    21                      c.    Patsouras Source Property
    22         93.   Defendant Kekropia, Inc. (“Kekropia”) is a corporation duly organized
    23 and existing under the laws of the State of California with its principal place of
    24 business in Santa Fe Springs, California. As alleged more fully herein, Kekropia is a
    25 current or previous “owner” or “operator,” as those terms are defined under
    26 CERCLA, of the Patsouras Source Property, as that term is defined below in
    27 Paragraph 343. As alleged more fully herein, Kekropia is a “person” and is, or was, a
    28 generator, transporter, or owner or operator of a “treatment,” “storage,” or “disposal”


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     1 facility who has contributed or is contributing to the past or present handling,
     2 “storage,” “treatment,” transportation, or “disposal” of a “solid waste” or “hazardous
     3 waste,” as those terms are defined under RCRA.
     4         94.   Defendant Palley Supply Company (“Palley Supply”) is a corporation
     5 duly organized and existing under the laws of the State of California with its principal
     6 place of business in Los Angeles, California. As alleged more fully herein, Palley
     7 Supply is a current or previous “owner” or “operator,” as those terms are defined
     8 under CERCLA, of the Patsouras Source Property. As alleged more fully herein,
     9 Palley Supply is a “person” and is, or was, a generator, transporter, or owner or
    10 operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
    11 contributing to the past or present handling, “storage,” “treatment,” transportation, or
    12 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
    13 RCRA.
    14         95.   Defendant William K. Palley is an individual. As alleged more fully
    15 herein, William K. Palley is a current or previous “owner” or “operator,” as those
    16 terms are defined under CERCLA, of the Patsouras Source Property. As alleged more
    17 fully herein, William Palley is a “person” and is, or was, a generator, transporter, or
    18 owner or operator of a “treatment,” “storage,” or “disposal” facility who has
    19 contributed or is contributing to the past or present handling, “storage,” “treatment,”
    20 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
    21 are defined under RCRA.
    22         96.   Defendant Halliburton Affiliates, LLC (“Halliburton”) is a limited
    23 liability corporation duly organized and existing under the laws of the State of
    24 Delaware with its principal place of business in Houston, Texas. As alleged more
    25 fully herein, Halliburton is a current or previous “owner” or “operator,” as those terms
    26 are defined under CERCLA, of the Patsouras Source Property. Upon information and
    27 belief, Halliburton is a successor by merger to the liabilities of The Rucker Company
    28 (“Rucker”), then a California corporation liable under CERCLA as a current or


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     1 previous “owner” or “operator,” as those terms are defined under CERCLA, of the
     2 Patsouras Source Property. Upon information and belief, in 1999, Halliburton
     3 Affiliates Corporation and Rucker (then known as Baroid Equipment, Inc.) merged
     4 and the surviving company, Halliburton Affiliates Corporation, assumed the
     5 liabilities of both constituent companies. Upon information and belief, in 2002,
     6 Halliburton Affiliates Corporation was converted into a limited liability company
     7 named Halliburton Affiliates, LLC, which retained the liabilities of Halliburton
     8 Affiliates Corporation.
     9                      d.     PMC Source Property
    10         97.   Defendant Ferro Corp. (“Ferro”) is a corporation duly organized and
    11 existing under the laws of the State of Ohio with its principal place of business in
    12 Mayfield Heights, Ohio. As alleged more fully herein, Ferro is a current or previous
    13 “owner” or “operator,” as those terms are defined under CERCLA, of the PMC
    14 Source Property, as that term is defined below in Paragraph 367. As alleged more
    15 fully herein, Ferro is a “person” and is, or was, a generator, transporter, or owner or
    16 operator of a “treatment,” “storage,” or “disposal” facility who has contributed or is
    17 contributing to the past or present handling, “storage,” “treatment,” transportation, or
    18 “disposal” of a “solid waste” or “hazardous waste,” as those terms are defined under
    19 RCRA.
    20         98.   Defendant PMC Specialties Group, Inc. (“PMC”) is a corporation duly
    21 organized and existing under the laws of the State of Delaware with its principal place
    22 of business in Cincinnati, Ohio. As alleged more fully herein, PMC is a current or
    23 previous “owner” or “operator,” as those terms are defined under CERCLA, of the
    24 PMC Source Property.
    25               4.     SNL Defendant PRPs Firmenich and Momentive
    26         99.   Defendant Firmenich, Inc. (“Firmenich”) is a corporation duly organized
    27 and existing under the laws of the State of New Jersey with its principal place of
    28 business in Geneva, Switzerland. As alleged more fully herein, Firmenich is an


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     1 “arranger,” as that term is defined under CERCLA, of hazardous waste disposal at the
     2 Omega Chemical property. Upon information and belief, Firmenich obtained a
     3 partial interest in MCP Industrial Food Products (“MCP”) and is a
     4 successor-in-interest to MCP.
     5         100. Upon information and belief, Defendant Momentive Specialty
     6 Chemicals, Inc. (f/k/a Hexion Specialty Chemicals, Inc. and n/k/a Hexion Inc.)
     7 (“Momentive”) is a corporation duly organized and existing under the laws of the
     8 State of New Jersey with its principal place of business in Columbus, Ohio. As
     9 alleged more fully herein, Momentive is an “arranger,” as that term is defined under
    10 CERCLA, of hazardous waste disposal at the Omega Chemical property. Upon
    11 information and belief, Momentive, through its affiliate, Hexion Specialty Chemicals,
    12 Inc., obtained a partial interest in MCP and is a successor-in-interest to MCP.
    13         C.      Doe Defendants
    14         101. Plaintiffs are ignorant of the true names and capacities of the defendants
    15 sued fictitiously as DOES 1 through 100, inclusive, and therefore sue these
    16 defendants by such fictitious names. Plaintiffs will amend this Complaint to allege
    17 their true names and capacities when ascertained, but are presently informed and
    18 believe that each of the fictitiously named defendants is an owner, member, or
    19 affiliate of a named Defendant with such unity of interest and ownership that the
    20 separate personalities between the Doe Defendant and the named Defendant no
    21 longer exist and that failure to disregard their separate identities would result in fraud
    22 or injustice.
    23         102. Plaintiffs are ignorant of the true names and capacities of the defendants
    24 sued fictitiously as DOES 101 through 250, inclusive, and therefore sue these
    25 defendants by such fictitious names. Plaintiffs will amend this Complaint to allege
    26 their true names and capacities when ascertained, but are presently informed and
    27 believe that each of the fictitiously named defendants is a person or entity that
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     1 arranged for the disposal of hazardous substances at a Source Property, which is
     2 responsible in some manner for some or all of the acts alleged herein.
     3                             JURISDICTION AND VENUE
     4         103. This is a civil action arising under the Comprehensive Environmental
     5 Response, Compensation and Liability Act (“CERCLA”), 42 U.S.C. § 9601 et seq.
     6 and the Resource Conservation and Recovery Act (“RCRA”), 42 U.S.C. § 6901, et
     7 seq. This Court has original jurisdiction pursuant to 42 U.S.C. § 9613(b), 42 U.S.C.
     8 § 6972(a), and 28 U.S.C. § 1331.
     9         104. In addition, the Declaratory Judgments Act, 28 U.S.C. §§ 2201, 2202,
    10 and Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), authorize this Court to
    11 grant Plaintiffs declaratory relief.
    12         105. Venue is proper in this district pursuant to Section 113(b) of CERCLA,
    13 42 U.S.C. § 9613(b), and Section 7002(a) of RCRA, 42 U.S.C. § 6972(a), because the
    14 releases of hazardous substances and endangerment to health and environment which
    15 give rise to the claims asserted herein occurred in this district.
    16                              FACTUAL ALLEGATIONS
    17         A.     OU-2 Facility Regional Groundwater Contamination
    18         106. EPA has concluded that the groundwater underlying portions of Whittier
    19 and Santa Fe Springs, California is contaminated with hazardous substances.
    20 Although the concentration of chemicals in the groundwater vary throughout the
    21 region, the contamination extends approximately 4½ miles and is roughly bordered
    22 by Whittier Boulevard to the north, Imperial Highway to the south, Bloomfield
    23 Avenue and Santa Fe Springs Road to the east and several blocks west of the 5 and
    24 605 freeways. The chemicals in the groundwater include but are not limited to:
    25       Antimony;
    26       Arsenic;
    27       Benzene;
    28       Chloroform;


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     1       Chromium;
     2       Hexavalent chromium;
     3       Total chromium;
     4       1,2-Dibromo-3-chloropropane (“DBCP”);
     5       1,1-Dichloroethane (“1,1-DCA”);
     6       1,2-Dichloroethane (“1,2-DCA);
     7       1,1-Dichloroethene (“1,1-DCE”);
     8       Cis-1,2-dichloroethene (“c-1,2-DCE”);
     9       Methylene chloride (“DCM”);
    10       Cis-1,3-dichloropropene (“c-1,3-DCP”);
    11       Trans-1,3-dichloropropene (“t-1,3-DCP”);
    12       Bis (2-ethylhexyl) phthalate (“DEHP”);
    13       1,4-Dioxane;
    14       1,2-Dibromoethane (“EDB”);
    15       Carbon tetrachloride;
    16       Trichlorofluoromethane (“Freon 11”);
    17       1,1,2-Trichloro-1,2,2-trifluoroethane (“Freon 113”);
    18       Isopropyl alcohol (“IPA”);
    19       Manganese;
    20       Mercury;
    21       Methyl tert-butyl ether (“MTBE”);
    22       N-nitrosodimethylamine (“NDMA”);
    23       Naphthalene;
    24       Nickel;
    25       1,1,2,2-Tetrachloroethane;
    26       Tetrachloroethylene (“PCE”);
    27       Selenium;
    28       1,1,1-Trichloroethane (“1,1,1-TCA”);


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     1       1,1,2-Trichloroethane (“1,1,2-TCA”);
     2       Trichloroethylene (“TCE”);
     3       Thallium;
     4       Toluene; and
     5       Vinyl chloride.
     6 Each of these substances is a “hazardous substance” as that term is defined under
     7 CERCLA and, when discarded, a “solid waste”, and potentially a “hazardous waste”,
     8 as those terms are defined under RCRA. The groundwater is also contaminated with
     9 aluminum; perchlorate; 1,2,3-Trichloropropane (“TCP”); chlorides; nitrates; sulfates;
    10 and dissolved solids, as well as any other hazardous substances identified by EPA
    11 from time to time as contaminants of concern in the OU-2 Facility. Upon information
    12 and belief, EPA contends that exposure to one or more of these substances poses a
    13 risk to human health and safety. Because hazardous substances were deposited,
    14 stored, disposed of, placed, or otherwise came to be located in groundwater
    15 underlying portions of the Whittier and Santa Fe Springs communities, this area is a
    16 “facility” within the meaning of Section 101(9) of CERCLA, 42 U.S.C. § 9601(9).
    17         107. Historically, the land that sits atop the OU-2 Facility has been used
    18 mostly for industrial or commercial purposes. The area includes chemical
    19 manufacturing and processing plants, oil refinery and oil production facilities,
    20 including wells and pipelines, industrial laundry operations, metal processing and
    21 heat treating plants, railroad operations, gas stations, and machine shops, many of
    22 which involved storage of significant quantities of chemicals for use in operations.
    23         108. Certain Defendants currently operate, or formerly operated, such
    24 businesses, or currently own, or formerly owned, the property on which those
    25 businesses operated. Other Defendants arranged for the treatment or disposal of
    26 wastes at businesses that sit on top of or very near to the OU-2 Facility. In addition,
    27 ExxonMobil, Continental Development, Continental, Associated Plating Inc., APC,
    28 Associated Plating, Cheryl Golnick, Clare Golnick, Darrell Golnick, Gordon


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     1 McCann, Lynnea McCann, Claudette Earl, Earl Mfg., Ferro, PMC, Foss Plating,
     2 Bodycote, Powerine, Kekropia, Palley Supply, William Palley, Pilot, Phibro-Tech,
     3 Union Pacific, and First Dice (collectively, the “RCRA Defendants”) each
     4 contributed or is contributing to the past or present handling, “storage,” “treatment,”
     5 transportation, or “disposal” of a “solid waste” or “hazardous waste,” as those terms
     6 are defined under RCRA.
     7         109. State and regulatory agencies have identified the properties owned by
     8 Defendants, or upon which they operated, as well as the Omega Chemical property, as
     9 sources of the OU-2 Facility groundwater contamination. They have identified
    10 numerous instances of releases of hazardous substances, such as PCE, TCE, 1,1-DCE
    11 and hexavalent chromium, onto the ground and into the soil at and underneath those
    12 properties.
    13         110. EPA believes that the subsurface directly beneath these source areas
    14 consists of portions of permeable soil containing lower concentrations of water,
    15 resulting in migration of contaminants generally downward by gravity. As the
    16 contaminants in the soil sink to lower depths and reach the saturated zone, the
    17 contaminants travel laterally and downgradient with the flow of the groundwater.
    18         111. EPA reports that it has searched and reviewed records and state and local
    19 agency files, performed field investigations at several of the confirmed and potential
    20 source areas of the OU-2 Facility groundwater contamination, and has determined
    21 that many source areas of significantly contaminated soil and groundwater have likely
    22 contributed contaminants to the OU-2 Facility. EPA has issued SNLs to Defendants
    23 Phibro-Tech, Inc.; Union Pacific; Bodycote; Pilot Chemical; Mission Linen; Foss
    24 Plating; Earl Mfg.; Claudette Earl; Palmtree Acquisition Corporation; Burke Street;
    25 Firmenich; and Momentive, identifying each of these Defendants as potentially liable
    26 for past and future costs to remediate the contaminated regional groundwater. Upon
    27 information and belief, the content of EPA’s Remedial Investigation / Feasibility
    28 Study, and the SNLs themselves, provide information concerning the basis for EPA’s


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     1 belief that these Defendants have contributed to the OU-2 Facility and the SNLs
     2 invite the SNL Defendants to discuss with EPA the future cleanup work.
     3         112. Also, EPA has sent GNLs to Defendants Continental and ExxonMobil.
     4 In the letters, EPA identifies the recipients as potentially liable for past and future
     5 costs to remediate the contaminated regional groundwater.
     6         113. The majority of the groundwater contamination at the OU-2 Facility is
     7 limited to the upper portion of the groundwater aquifer. The groundwater within the
     8 OU-2 Facility area is used as a source of drinking water by several municipal and
     9 private water purveyors, although the current drinking water wells in the OU-2 area
    10 draw water primarily from deeper portions of the aquifer than are currently affected
    11 by the contamination. The contamination, however, if left unabated, could spread
    12 into other portions of the aquifer that are sources of drinking water. Upon information
    13 and belief, groundwater production well monitoring data on file with the California
    14 Department of Public Health show that these production wells have had low levels of
    15 contamination dating back to 1985. The water purveyors have installed and maintain
    16 wellhead treatment systems on affected production wells to remove contaminants to
    17 acceptable regulatory levels. If left unabated, the contamination may also, upon
    18 information and belief, affect soil, around or adjacent to the contaminated
    19 groundwater, that is not already impacted, including but not limited to soil at or
    20 underneath public property and infrastructure.
    21         114. EPA has concluded that the contamination described above poses a
    22 threat to public health, welfare and the environment and that a response to address the
    23 contamination is therefore necessary. Accordingly, EPA has identified a groundwater
    24 pump-and-treat system that is intended to remove contaminant mass from the
    25 groundwater, limit the movement of contaminated groundwater, and prevent any
    26 further spreading of hazardous substances to uncontaminated areas of the aquifer and
    27 nearby water production wells (the “Selected Remedy”). Implementing the Selected
    28 Remedy is estimated to cost in the tens of millions of dollars.


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     1         115. The contamination at and near the source properties at which the RCRA
     2 Defendants contributed or are contributing to the handling, storage, treatment,
     3 transportation, or disposal of solid or hazardous wastes continues to migrate away
     4 from those source properties presenting an imminent and substantial endangerment to
     5 human health and the environment. Upon information and belief, the RCRA
     6 Defendants have long been on notice of the contamination but they have failed to
     7 adequately address it. The Selected Remedy does not address the need to control the
     8 continuing release of hazardous substances to groundwater from those source
     9 properties (“Source Control”), nor is it intended to. In fact, EPA has indicated that the
    10 OU2 interim remedy would need to operate indefinitely without property source
    11 control and it has recognized the importance of source controls for successful
    12 long-term remediation.
    13         116. EPA contends that Plaintiffs, which sent chemicals to Omega Chemical
    14 for proper treatment, processing and disposal, and others, should bear the costs of the
    15 Selected Remedy, as well as past costs EPA has incurred in connection with the OU-2
    16 Facility.
    17         117. Beginning no later than 2009, each Plaintiff has incurred significant
    18 costs to monitor, assess and evaluate the OU-2 Facility, to investigate the
    19 environmental conditions associated with the OU-2 Facility, including the sources of
    20 contamination, to identify PRPs, and to evaluate the means to address the
    21 contamination. Plaintiffs collectively have incurred millions of dollars to date in such
    22 costs. In addition, Plaintiffs have spent and may in the future spend significant sums
    23 to address the contamination contributed to the OU-2 Facility by Defendants that may
    24 affect soil, around or adjacent to the contaminated groundwater, that is not already
    25 impacted, including but not limited to soil at or underneath public property and
    26 infrastructure. These costs have neither been reimbursed nor indemnified, nor are
    27 they duplicative of any costs incurred by any other person, entity, or governmental
    28 entity in connection with the OU-2 Facility.


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     1         B.    The Abex Action and OU-2 Consent Decree
     2         118. Plaintiffs have entered into a consent decree memorializing a settlement
     3 between the United States, the California Department of Toxic Substances Control,
     4 Plaintiffs, Defendant Burke Street LLC, and others with respect to certain liability for
     5 the OU-2 regional groundwater contamination (“the OU-2 Consent Decree”). Under
     6 the OU-2 Consent Decree, “work parties,” a group of settling PRPs that includes
     7 Plaintiffs and McKesson Corporation, an entity associated with a source property
     8 downgradient of several of the Defendants’ Source Properties, will implement certain
     9 response actions at OU-2 which will address the regional groundwater contamination.
    10 None of the Defendants in this action, except Burke Street LLC, are signatories to the
    11 OU-2 Consent Decree, and those Defendants continue to refuse to participate in, or
    12 pay for, the action necessary to address the regional groundwater contamination to
    13 which they contributed and, in most instances, continue to contribute. The United
    14 States has filed a companion complaint against the PRP signatories to the OU-2
    15 Consent Decree, including Plaintiffs and Defendant Burke Street LLC, titled United
    16 States of America, et al. v. Abex Aerospace, et al., Case No. 2:16-CV-02696 (“Abex”),
    17 asserting claims under Sections 106 and 107 of the Comprehensive Environmental
    18 Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§ 9606, 9607,
    19 and Section 7003 of the Resource Conservation and Recovery Act (“RCRA”), 42
    20 U.S.C. § 6973 alleging that defendants in that action are liable for contributing to the
    21 OU-2 regional groundwater contamination.
    22         C.    Defendants Have Contributed to the OU-2 Facility Regional
    23               Groundwater Contamination
    24         119. Each of the source properties set forth below is located above or adjacent
    25 to the OU-2 Facility. Upon information and belief, each is a source of the OU-2
    26 Facility groundwater contamination. The approximate locations of the source
    27 properties are shown in the attached Exhibit B.
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     1               1.     The SNL Defendants’ Source Properties
     2                      a.     The Bodycote Source Property – 11845 Burke Street
     3         120. Upon information and belief, releases of contamination have occurred
     4 from property located at and/or adjacent to 11845 Burke Street, Santa Fe Springs,
     5 California and businesses operating thereon (the “Bodycote Source Property”).
     6                             i.    Source Property Ownership and Operation
     7         121. Since at least 1966, Defendant Bodycote (including its predecessor
     8 company, Techni-Braze, Inc.) has been conducting metalwork operations at the
     9 Bodycote Source Property, such as heat treating of metal, metal brazing, metal
    10 testing, and metal coating. Bodycote purchased the Bodycote Source Property in
    11 1997 and remains the current owner today.
    12         122. Operations of the type Bodycote conducted frequently involved the use
    13 of halogenated solvents. Before a part can be heat treated or coated, it must be
    14 cleaned of foreign substances, such as oil and grease. A device called a vapor
    15 degreaser is generally used to do so. A typical vapor degreaser boils a halogenated
    16 solvent (such as PCE, TCE, 1,1,1-TCA, or Freon 11) to create a hot vapor into which
    17 metal, glass, or plastic items are immersed to remove grease, fats, oils, wax, or soil.
    18 Although vapor degreasers often reuse the vapor after it cools and condenses, the
    19 process generates hazardous waste in the form of residual liquid solvent and sludge
    20 that must either be disposed of or treated. The storage and use of solvents in vapor
    21 degreasers has historically been associated with spills, leaks and releases into the
    22 environment.
    23                             ii.   Disposal & Releases of Hazardous Substances
    24         123. Upon information and belief, hazardous substances, including waste oil
    25 and the solvents PCE and TCE were stored, used, or were otherwise present in
    26 hazardous waste at the Bodycote Source Property. From 1980 (when Bodycote’s
    27 predecessor installed a vapor degreaser at the Bodycote Source Property) to at least
    28 1998 (when Bodycote reported it had ceased using chlorinated solvents on the


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     1 property), Bodycote and its predecessor used PCE and TCE in connection with
     2 Bodycote’s metalworking operations. During the time it operated the degreaser,
     3 Bodycote estimated it was using approximately 55 gallons a month of PCE in
     4 degreasing operations.
     5         124. Bodycote has repeatedly been found in violation of hazardous substance
     6 regulations. In 1984 and 1989, the Los Angeles County Department of Health
     7 Services issued notices of violation regarding Bodycote’s predecessor’s practices for
     8 storage and disposal of PCE, waste oil, and other hazardous waste. In 1998, the Santa
     9 Fe Springs Fire Department inspected the Bodycote Source Property and found
    10 numerous violations, including unsafe storage of hazardous waste, disposal of
    11 solvent-soaked towels in the garbage, and improper storage of PCE and TCA, all of
    12 which were found to be a failure of Bodycote’s responsibility to “minimize possibility
    13 of … sudden and non-sudden release of hazardous waste to soil, air, or water.”
    14         125. Bodycote’s operations and waste disposal practices resulted in one or
    15 more hazardous substances, including but not limited to PCE, being placed onto the
    16 ground or into the soil at or near the Bodycote Source Property. Soil samples taken at
    17 the Bodycote Source Property have detected benzene; 1,1-DCE; PCE; TCE; and
    18 toluene. A historical analysis of the property by Bodycote’s consultant led the
    19 consultant to conclude that chronic spilling of PCE had occurred behind the main
    20 building on the property and in the northwest corner of the property, and that the
    21 resulting soil contamination was the source of local groundwater contamination. Soil
    22 samples taken at the Bodycote Source Property have repeatedly shown PCE
    23 contamination at much higher concentrations in soil in the areas where Bodycote
    24 stored and used the solvent. During an assessment of the Bodycote Source Property
    25 in 1991, oily stains were observed under and around the degreaser on the property.
    26 Later that year, in August 1991, another assessment found PCE in the soil on the
    27 property and concluded that there had been a release of PCE from storage containers
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     1 or degreasing operations and that the release had contaminated the soil and
     2 underlying groundwater on the property.
     3         126. Upon information and belief, the hazardous substances present in the
     4 soil at the Bodycote Source Property have migrated and continue to migrate
     5 downward into the saturated zone beneath the property and have come to be located in
     6 the groundwater, resulting in contamination of the groundwater with benzene;
     7 1,1-DCA; 1,2-DCA; 1,1-DCE; 1,1,1,2-tetrachloroethane; PCE; TCA; 1,1,1-TCA;
     8 1,1,2-TCA; TCE; 1,4-dioxane; and toluene. An investigation of the property in 1995
     9 concluded that soil contamination at the Bodycote Source Property extended to the
    10 groundwater. Groundwater samples taken at the Bodycote Source Property have
    11 found PCE contamination at much higher concentrations in the areas where Bodycote
    12 stored and used PCE. In 2007, Bodycote’s environmental consultants concluded that
    13 the presence of 1,1-DCA; 1,2-DCA; 1,1-DCE; and TCA in groundwater on the
    14 property were attributable to the chemical degradation of PCE released from the
    15 property.
    16         127. Upon information and belief, wastewater containing hazardous
    17 substances, including chromium, was discharged by Bodycote and its predecessor
    18 from the Bodycote Source Property into a drain channel, where it migrated downward
    19 into the saturated zone and came to be located in the regional groundwater. In 1975,
    20 the Regional Water Quality Control Board and the Los Angeles County Sanitation
    21 District each determined that Bodycote’s predecessor, Techni-Braze, was discharging
    22 wastewater from the Bodycote Source Property containing chromium in excess of
    23 permitted amounts; the Sanitation District also detected chlorinated hydrocarbons in
    24 the wastewater.
    25         128. Because hazardous substances were deposited, stored, disposed of, or
    26 placed, or otherwise came to be located at the Bodycote Source Property, the
    27 Bodycote Source Property is a “facility” within the meaning of Section 101(9) of
    28 CERCLA, 42 U.S.C. § 9601(9).


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     1         129. Groundwater monitoring data indicates that the contaminants in the
     2 groundwater from the soil at the Bodycote Source Property have migrated offsite in
     3 the same general direction as the groundwater flow. Assessments of the property in
     4 1991 and 1995 analyzed contamination from Bodycote’s operations and concluded
     5 that the contamination may have migrated offsite.
     6         130. In 2010, EPA cited with approval investigations that had concluded that
     7 contamination at the Bodycote Source Property with PCE and its degradation
     8 products, such as TCE, was caused by spills or leaks from Bodycote’s storage of PCE
     9 or related operations, and that the contamination had migrated offsite. In or around
    10 September 2012, Plaintiffs allege on information and belief, EPA sent an SNL to
    11 Bodycote, which, among other things, identifies Bodycote as a PRP for the OU-2
    12 Facility groundwater contamination and solicits an offer for Bodycote to perform the
    13 OU-2 Facility remedial design and remedial action and pay EPA’s unreimbursed
    14 response costs.
    15                            iii.   Continuing Migration of Contaminants
    16         131. As alleged above, releases of contaminants have occurred at the
    17 Bodycote Source Property and are continuing to occur. The contaminants continue to
    18 migrate away from the property, posing a continuing threat to the regional
    19 groundwater and the health of area residents.
    20         132. Bodycote has not taken adequate steps to remediate the onsite and
    21 near-site soils, resulting in a continuing source for contaminant migration. It has not
    22 adequately monitored the extent to which contaminants continue to migrate from the
    23 Bodycote Source Property into offsite groundwater, and the Bodycote Source
    24 Property does not have a groundwater monitoring system in place that is sufficient to
    25 demonstrate that releases from the property to regional groundwater above
    26 health-based levels have been fully controlled.
    27         133. In 2005, the following OU2 contaminants were detected: PCE in15 wells
    28 at concentrations ranging from 1.4 µg/l to 12,000 µg/l; 1,1,1-TCA in 2 wells at 1.9


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     1 µg/l and 3.0 µg/l; TCE in several wells at levels from 12 µg/l to 42 µg/l; and 1,1-DCE
     2 in five wells at 8 µg/l, 9.8 µg/l, 15 µg/l, 3.6 µg/l, and 5.6 µg/l.
     3         134. The 2011 concentration trend for PCE in wells MW-8, MW-6, MW-12,
     4 and MW-7 suggests continuing migration of onsite source materials from the
     5 Bodycote Source Property above health-based levels.
     6         135. The 2011 PCE detections in the boundary well MW-7 at 500 µg/l
     7 represents offsite migration of contaminants from the Bodycote Source Property at
     8 100 times the maximum contaminant level (“MCL”). Other readings on the
     9 downgradient side of the property were even higher.
    10         136. Wells MW-2 and MW-3, which are identified as “deeper” groundwater
    11 wells, also exhibit concentrations of PCE above the MCL.
    12         137. The lack of offsite monitoring wells in the “shallow” aquifer precludes
    13 an appropriate evaluation of the lateral and vertical delineation of offsite groundwater
    14 contamination, making it impossible to optimize any source control remedy to ensure
    15 the remedy actually prevents offsite migration of contaminants above health-based
    16 levels from the Bodycote Source Property.
    17                       b.    The Chrysler Source Property
    18         138. Upon information and belief, releases of contamination have occurred
    19 from property, and businesses operating thereon, located at and/or adjacent to the
    20 former address 12140 Slauson Ave., Santa Fe Springs, California. The original
    21 property has since been subdivided and has come to be known as the La Salle
    22 Property, Central Property, North-Central Property and Multitenant Property, more
    23 specifically identified, respectively, by Assessor’s Parcel Numbers 8168-002-412;
    24 8168-002-403 through 405, 8168-002-405, and 8168-002-418 and 419;
    25 8168-002-412, and 8168-002-803 and 804; and 8168-002-402 (the “Chrysler Source
    26 Property”).
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     1                            i.     Source Property Ownership
     2         139. Beginning no later than 1888, Defendant Union Pacific, or a predecessor
     3 company or subsidiary of Defendant Union Pacific, began acquiring portions of the
     4 Chrysler Source Property, and by no later than 1966 had acquired title to the entire
     5 Chrysler Source Property.
     6         140. In 1974, Southern Pacific Industrial Development Company, a
     7 predecessor to Defendant Palmtree, acquired title to the Chrysler Source Property.
     8         141. In 2000, Defendant Burke Street acquired a portion of the Chrysler
     9 Source Property and by 2002 Burke Street had acquired the entire Central Property
    10 portion of the Chrysler Source Property. In December 2009, Burke Street admitted,
    11 in response to an EPA CERCLA Section 104(e) request, that as of that time, it had not
    12 engaged in any cleanup activities of the Chrysler Source Property.
    13                            ii.    Source Property Operation
    14         142. Beginning in 1963, certain entities conducted automobile preparation
    15 operations at the Chrysler Source Property. At this time, there were six buildings
    16 onsite and by 1966 there were a total of nine buildings on the central and northwestern
    17 portions of the Chrysler Source Property and a portion of the site was covered by
    18 asphalt and used for automobile storage. By 1979 there were 17 buildings onsite and
    19 hundreds of cars parked at the Chrysler Source Property. Operations included body
    20 and mechanical work, tune-ups, front-end alignment, emissions control testing,
    21 painting, washing, detailing, performance testing, and spot chroming.
    22         143. Beginning in approximately 1963, Pacific Electric leased a portion of the
    23 Chrysler Source Property, approximately 27.67 acre in size, to Dallas Smith Service
    24 Corporation (“Dallas Smith”), which conducted various automobile preparation
    25 operations at the site including those operations set forth in Paragraph 142 above.
    26         144. In 1967, Defendant Union Pacific (then known as Southern Pacific
    27 Company) leased the 27.67 acre Dallas Smith portion of the Chrysler Source Property
    28 plus an additional 11.90 acres to the Chrysler Realty Corporation, which continued


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     1 conducting automobile preparation operations under the name Nucar Prep Systems at
     2 the Chrysler Source Property, including those operations set forth in Paragraph 142
     3 above. Chrysler operated at the Chrysler Source Property under various names
     4 including Nucar Prep Systems, Chrysler Corp. – California Emission Test Facility,
     5 Nu Car Prep System Inc., Chrysler Shelby Center, and Pre-Check Corp.
     6         145. In 1988, Chrysler ceased operations at the Chrysler Source Property, and
     7 as of 1999, car preparation structures at the Chrysler Source Property had been razed
     8 and the property had been redeveloped into office and warehouse buildings.
     9                            iii.   Disposal & Releases of Hazardous Substances
    10         146. Upon information and belief, hazardous substances were disposed of at
    11 the Chrysler Source Property between 1963 and 1988. According to at least one
    12 report, as well as Material Safety Data Sheets maintained by companies operating at
    13 the Chrysler Source Property during this period, compounds present there included
    14 detergents and flammable solvents; chlorinated hydrocarbons, including TCE and
    15 PCE used for degreasing parts and washing cars and trucks, and MEK; purgeable
    16 halocarbons, toluene, xylenes, butyl alcohol; emulsifiers; acetone; metals; new and
    17 used motor oil from car maintenance operations; and acrylic and enamel paint from
    18 spray paint operations. Chrysler used hexavalent chromium (and, potentially, other
    19 chromium compounds) at the Chrysler Source Property and stored waste chromium
    20 for transportation off-site.
    21         147. Upon information and belief, Dallas Smith obtained Industrial Waste
    22 Disposal Permits to dispose of liquid waste or wastewater generated in connection
    23 with its operations to the sanitary sewer, and a storm drain located on or adjacent to
    24 the property. In 1970, and again in 1976, public agencies found Chrysler to be in
    25 violation of water discharge permits for disposing of hexavalent chromium (and,
    26 potentially, other chromium compounds) into a storm drain. No later than 1973,
    27 Chrysler used and disposed of solvents, cosmoline (rust-preventative) remover, and
    28 wastewater at the Chrysler Source Property. Chrysler improperly disposed of


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     1 hazardous paint residue into a storm drain on or near the Chrysler Source Property,
     2 improperly placed hazardous wastes in the garbage for disposal, and used both TCE
     3 and PCE at the Chrysler Source Property for cosmoline removal in or before 1985. In
     4 addition to operating seven licensed underground storage tanks containing various
     5 chemicals, Chrysler operated at least two unlicensed and undocumented underground
     6 storage tanks sometime between 1967 and 1985.
     7         148. During the closure of the Chrysler Source Property in 1988,
     8 approximately 1,000 cubic yards of soil contaminated with hazardous substances
     9 were removed from the property, in addition to two undocumented, rusted storage
    10 tanks. An investigation that same year uncovered soil contaminated with TCE and
    11 other hazardous substances. In 1989, an assessment of the Chrysler Source Property
    12 concluded that the likelihood that the soil was contaminated around the plant’s
    13 plumbing and drainage systems was high, and indeed, PCE was detected in the soil
    14 later that year.
    15         149. In 1990 and 1991, an investigation was conducted of soil near and under
    16 a former 750-gallon clarifier at the Chrysler Source Property that had been removed
    17 from the body works building at the property in 1988. At the time the soil was
    18 removed, visibly stained soil with a chemical odor was observed. The soil was
    19 contaminated with high levels of: TCE; PCE; chloroform; 1,1-DCA; 1,1,1-TCA and
    20 1,2-DCE, and the contamination extended 33 feet below ground surface (“bgs”)
    21 which was the depth groundwater was first encountered. At the time, stockpiled soil
    22 was also tested and found to be contaminated with: 1,1-DCE; 1,2-DCE; Freon-11;
    23 PCE; TCA; and TCE. Soil gas samples were found to contain: 1,1-DCE; PCE; and
    24 Freon 11. Approximately 1,000 cubic yards of contaminated soil, extending down to
    25 the top of the groundwater table, was removed. The plume of contaminants was found
    26 to exist in the soil extending out from the clarifier. An assessment of the Chrysler
    27 Source Property that same year also found oily sludge and extensive staining in the
    28 carwash area and detail building of the plant. Tests of other parts of the Chrysler


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     1 Source Property in 1991 also showed soil contaminated with chromium, Freon 11,
     2 1,1-DEC, and PCE. In 1992, during the installation of sewers at the Chrysler Source
     3 Property, contaminated soil was discovered and removed. The same year, additional
     4 soil contaminated with hazardous substances was discovered and removed. In 1996,
     5 PCE was found to still be present in the soil at the Chrysler Source Property.
     6         150. Upon information and belief, the hazardous substances in the soil at the
     7 Chrysler Source Property have migrated and continue to migrate downward into the
     8 saturated zone beneath the property and have come to be located in the groundwater –
     9 specifically, chromium, PCE, TCE, TCA, DCA, DCE 1,1-DCE, 1,2-DCE and
    10 Freon-11. In 1990 and 1991, investigations of groundwater under a 750-gallon
    11 clarifier at the Chrysler Source Property revealed that the groundwater beneath the
    12 clarifier was contaminated with: 1,1-DCE, Freon 11, PCE, TCA, and TCE. Tests of
    13 other parts of the Chrysler Source Property in 1991 showed groundwater
    14 contaminated with chromium, 1,1-DCE, 1,2-DCE, Freon 11, 1,2-DCA, PCE, TCA,
    15 and TCE. The same year, wells at the Chrysler Source Property showed higher levels
    16 of some chlorinated solvents than did wells located upgradient of the plant.
    17 Additional groundwater testing between 1994 and 1999 indicated that the
    18 groundwater at the Chrysler Source Property was contaminated with: 1,1-DCE,
    19 1,2-DCE, Freon 11, Freon 113, PCE, and TCE.
    20         151. Because hazardous substances were deposited, stored, disposed of, or
    21 placed, or otherwise came to be located at the Chrysler Source Property, the Chrysler
    22 Source Property is a “facility” within the meaning of Section 101(9) of CERCLA, 42
    23 U.S.C. § 9601(9).
    24         152. Upon information and belief, contaminants in the groundwater from the
    25 soil at the Chrysler Source Property have migrated offsite in the same general
    26 direction as the groundwater flow.
    27         153. In 2010, the EPA concluded that based on elevated concentrations of
    28 PCE, TCE, and 1,1-DCE in soil, the Chrysler Source Property is a source of


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     1 groundwater contamination by these compounds. In or around February 2009, EPA
     2 sent a GNL to Chrysler LLC, which, among other things, identifies Chrysler LLC as a
     3 PRP for the OU-2 Facility groundwater contamination, requests a response as to
     4 Chrysler LLC’s willingness to negotiate with EPA regarding its potential liability for
     5 OU-2 Facility response costs, and requests certain information about the status of
     6 Chrysler LLC’s activities. In or around September 2012, Plaintiffs allege on
     7 information and belief, EPA sent SNLs to Burke Street and Palmtree as successors to
     8 Chrysler LLC. Among other things, the SNLs identify those Defendants as PRPs for
     9 the OU-2 Facility groundwater contamination, and solicits offers from Burke Street
    10 and Palmtree to perform the OU-2 Facility remedial design and remedial action, and
    11 pay EPA’s unreimbursed response costs.
    12                     c.     The Earl Mfg. Source Property – 11862 Burke Street
    13         154. Upon information and belief, releases of contamination have occurred
    14 from property located at and/or adjacent to 11862 Burke Street, Santa Fe Springs,
    15 California and businesses operating thereon (the “Earl Mfg. Source Property”).
    16                            i.    Source Property Ownership and Operation
    17         155. Upon information and belief, Defendant Earl Mfg. began operations at
    18 the Earl Mfg. Source Property in 1960. At the time, the Earl Mfg. Source Property
    19 was owned by William E. Earl and Dot A. Earl. Earl Mfg. manufactured springs,
    20 spark plugs, jacks and other machined parts.
    21         156. In 1990, William E. Earl and Dot A. Earl granted the property to
    22 Defendant Claudette Earl, who remains the current owner.
    23         157. In 2000, Defendant Earl Mfg. ceased operations at the Earl Mfg. Source
    24 Property.
    25                            ii.   Disposal & Releases of Hazardous Substances
    26         158. Upon information and belief, hazardous substances were disposed of at
    27 the Earl Mfg. Source Property between 1960 and 2000.
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     1         159. Earl Mfg.’s operations involved significant use of solvents, such as:
     2 TCE; DCA; and 1,1,1-TCA, as well as 400 to 500 gallons of PCE annually, which
     3 was stored in a 500-gallon aboveground storage tank. Waste PCE and a mixture of
     4 chlorinated solvent wastes were stored in a rusted 1,000-gallon underground storage
     5 tank. Earl Mfg. also used other solvents. Earl Mfg.’s operations also included the use
     6 and/or waste generation of several halogenated solvents including: PCE which was
     7 used in a vapor degreaser and stored in a 500-gallon storage tank adjacent to the
     8 degreaser and in a bulk storage area; TCE which was maintained in the TCE storage
     9 area; 1,1,1-TCA which was likely used in conjunction with the onsite paint booth; and
    10 waste solvent mixtures containing a dicloroethane.
    11         160. In 1966, Defendant Earl Mfg. installed a vapor degreaser at the Earl
    12 Mfg. Source Property that was used until 1992. Waste solvent from the degreaser and
    13 Trim-Sol waste oil was reportedly stored onsite in the 1,000-gallon underground
    14 storage tank. Water from a cooling tower located on the roof of the vapor degreaser
    15 room was discharged daily into the public sewer. Beginning in 1976, degreasing
    16 operations also involved use of a 100-gallon PCE dip tank.
    17         161. In 1989, the Los Angeles County Department of Health Services issued a
    18 Notice of Violation and Order to Comply to Defendant Earl Mfg. to, among other
    19 things, segregate waste cooling oil from spent solvent waste, and recommended a
    20 containment area to prevent oily runoff into a nearby Creek.
    21         162. In 1997, the 1,000 gallon underground storage tank was removed from
    22 the Earl Mfg. Source Property. Upon removal, the tank was inspected and found to be
    23 moderately rusty. The tank reportedly was used to store PCE and a metalworking
    24 coolant with the trade name “Trim Sol”. However, sludge found in the tank during
    25 removal contained more than 20 volatile organic compounds (“VOCs”), including:
    26 PCE, TCE, 1,1-DCA, 1,2-DCA, DCM, 1,1,1-TCA, toluene, and vinyl chloride.
    27 Contemporaneous soil sampling detected PCE, TCE, and 1,1-DCA in the soil under
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     1 the tank. In 2012, additional soil samples collected from the Earl Mfg. Source
     2 Property revealed the presence of elevated levels of PCE and TCE.
     3         163. Upon information and belief, the hazardous substances present in the
     4 soil at the Earl Mfg. Source Property have migrated and continue to migrate
     5 downward into the saturated zone beneath the property and have come to be located in
     6 the groundwater – specifically, PCE, TCE, and 1,1-DCA. Because of the elevated
     7 concentrations of contaminants in the soil, the Santa Fe Springs Fire Department in
     8 1997 referred Defendant Earl Mfg. to the Regional Water Quality Control Board,
     9 stating that the contaminants indicated a potential threat to groundwater. In 1999,
    10 groundwater tests conducted at the Earl Mfg. Source Property revealed PCE and TCE
    11 contamination at concentrations higher than background levels. Groundwater
    12 samples collected in 2012 also revealed 1,1-DCA, 1,1-DCE, PCE, and TCE
    13 contamination. In 2013, the Regional Water Quality Control Board issued a draft
    14 cleanup and abatement order to Defendant Claudette Earl, stating that a VOC
    15 groundwater plume had originated at the Earl Mfg. Source Property and had migrated
    16 offsite.
    17         164. Because hazardous substances were deposited, stored, disposed of, or
    18 placed, or otherwise came to be located at the Earl Mfg. Source Property, the Earl
    19 Mfg. Source Property is a “facility” within the meaning of Section 101(9) of
    20 CERCLA, 42 U.S.C. § 9601(9).
    21         165. Upon information and belief, contaminants in the groundwater from the
    22 soil at the Earl Mfg. Source Property have migrated offsite in the same general
    23 direction as the groundwater flow. In 2013, the Regional Water Quality Control
    24 Board concluded that a plume of VOCs originating at the property had migrated
    25 offsite, affecting offsite groundwater resources.
    26         166. In 2010, EPA concluded that the Earl Mfg. Source Property was a source
    27 of TCE and PCE, as well as of 1,1-DCA and 1,1-DCE contamination in the OU-2
    28 Facility. In or around September 2012, Plaintiffs allege on information and belief,


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     1 EPA sent an SNL to Claudette Earl and one to Earl Mfg., which, among other things,
     2 identify those Defendants as PRPs for the OU-2 Facility groundwater contamination
     3 and solicit a offers for Claudette Earl and Early Mfg. to perform the OU-2 Facility
     4 remedial design and remedial action and pay EPA’s unreimbursed response costs.
     5                             iii.   Continuing Migration of Contaminants
     6         167. As alleged above, releases of contaminants have occurred at the Earl
     7 Mfg. Source Property and are continuing to occur. The contaminants continue to
     8 migrate away from the property, posing a continuing threat to the regional
     9 groundwater and the health of area residents.
    10         168. Neither Claudette Earl nor Earl Mfg. has taken adequate steps to
    11 remediate the onsite and near-site soils, from which contaminants are migrating.
    12 Neither has adequately monitored the extent to which contaminants continue to
    13 migrate from the Earl Mfg. Source Property into offsite groundwater. The Earl Mfg.
    14 Source Property does not have a groundwater monitoring system in place that is
    15 sufficient to demonstrate that releases from the property to regional groundwater
    16 above health-based levels have been fully controlled. Upon information and belief,
    17 Claudette Earl is and has been aware of the contamination occurring at the property,
    18 which she owns or owned.
    19         169. Site soils at the Earl Mfg. Source Property are highly contaminated. Soil
    20 samples collected and analyzed during removal of an underground storage tank from
    21 the property in 1997 found both PCE and 1,1-DCA in soil samples collected beneath
    22 the former tank. PCE was detected from samples taken at both the east end and the
    23 west end of the tank at 1,470 µg/kg and 422,000 µg/kg respectively. 1,1-DCA was
    24 detected at the west end of the tank at 228 µg/kg. The detection limit at the east end of
    25 the tank was 25,000 µg/kg. The soil samples were collected at four feet below the
    26 tank which was 10 feet below grade. PCE was detected in 12 out of 28 soil vapor
    27 samples clustered around the former tank excavation at a maximum reading of
    28 257 µg/l.


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     1         170. In 1998, soil samples collected at 11.5 and 20 feet “- from beneath the
     2 former underground storage tank at the Earl Mfg. Source Property were found to
     3 contain PCE at 270 µg/kg and 950 µg/kg, respectively. Soil samples also contained
     4 elevated levels of 1,1-DCA, TCE, and 1,1,1-TCA.
     5         171. Follow up soil sampling in 2012 in the vicinity of the former degreaser at
     6 the Earl Mfg. Source Property included sampling to a depth of 30 feet, where PCE
     7 was detected in all six samples from the vapor degreaser area ranging from 40 µg/kg
     8 (25 feet) to 180,000 µg/kg (20 feet). PCE was also detected in four of six samples
     9 collected from the former exterior TCE storage area (10 µg/kg at 5 feet to 84 µg/kg at
    10 25 feet) and in four of six samples collected at the former 1,000 gallon waste solvent
    11 underground storage tank (130 µg/kg at 5 feet to 22 µg/kg at 10 feet).
    12         172. In 2014, PCE and TCE were detected throughout the area under the
    13 former operations building at the Earl Mfg. Source Property, with particularly high
    14 levels below the area of the former vapor degreaser.
    15         173. There are three wells onsite. MW-1 is downgradient of the other two
    16 wells. In 1999, this well contained 13,700 µg/l of PCE and 1,730 µg/l of TCE.
    17         174. Hydropunch sampling was performed at the Earl Mfg. Source Property
    18 in 2012 in three locations along the southern portion of the property (the former 1,000
    19 gallon underground storage tank (“UST”), the exterior TCE storage area, and the
    20 former degreaser) with results for PCE in groundwater ranging from 2,000 to 3,000
    21 µg/l and TCE ranging from 240 to 340 µg/l.
    22         175. There has been no offsite sampling to delineate the lateral and vertical
    23 extent of groundwater contamination leaving the Earl Mfg. Source Property above
    24 health-based levels and an adequate groundwater sampling network has not been
    25 installed.
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     1                      d.     The Foss Plating Source Property – 8140 Secura Way
     2         176. Upon information and belief, releases of contamination have occurred
     3 from property located at and/or adjacent to 8140 Secura Way, Santa Fe Springs,
     4 California and businesses operating thereon (the “Foss Plating Source Property”).
     5                             i.     Source Property Ownership and Operation
     6         177. Upon information and belief, in or around 1960, Foss Plating purchased
     7 the Foss Plating Source Property and, as of 1968, was operating on the property.
     8 Defendant Foss Plating conducted metal plating operations at the Foss Plating Source
     9 Property, consisting primarily of chrome and nickel plating of parts and metal
    10 polishing.
    11         178. In 2002, Devr Properties, a company related to Foss Plating, purchased
    12 portions of the Foss Plating Source Property, including portions of the property upon
    13 which hazardous waste was stored. Devr Properties leased back the portion of the
    14 property it had purchased to Foss Plating, which continued its operations on the
    15 property until 2005.
    16                             ii.    Disposal & Releases of Hazardous Substances
    17         179. Upon information and belief, hazardous substances were disposed of at
    18 the Foss Plating Source Property between 1960 and 2005.
    19         180. Metal plating is the process by which a thin surface coating of one metal
    20 is applied to a part by placing the part in a bath of chemical plating solution, with or
    21 without the use of an electric current. Metal plating generates wastewater containing
    22 chromium and other metals as well as toxic organic chemicals. Additionally, before a
    23 part can be plated, it is typically cleaned of foreign substances, such as oil and grease,
    24 using, for example, a vapor degreaser and a solvent, resulting in solvent waste.
    25         181. Upon information and belief, beginning in 1968 until 1994 or 1995
    26 (when Foss Plating reportedly removed its vapor degreasing system), Foss Plating
    27 operated one or more vapor degreasers on the property that used PCE until 1985, and
    28 thereafter used 1,1,1-TCA. Each month, Foss Plating used as much as 120 gallons of


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     1 solvent in its degreasing operations, and generated as much as 35-40 gallons of
     2 solvent sludge. Additionally, Foss Plating used compounds containing hexavalent
     3 chromium to plate items with that metal as part of the chromium plating process.
     4         182. Foss Plating has repeatedly been found in violation of hazardous
     5 substance regulations. In 1983, Foss Plating was cited for discharging wastewater
     6 from the property that contained chromium, and in 1999, Foss Plating was cited for
     7 discharging wastewater containing hexavalent chromium (and, potentially, other
     8 chromium compounds). In 1989, Foss Plating was issued a notice of violation for
     9 disposing of solvent sludge with wastewater. In 1998, Foss Plating was informed that
    10 its hazardous substance storage and containment procedures, including its
    11 containment of chemicals used in plating, were out of compliance with regulatory
    12 requirements.
    13         183. Upon information and belief, Foss Plating’s operations and waste
    14 disposal practices resulted in one or more hazardous substances, including but not
    15 limited to the solvents PCE and 1,1,1-TCA and chromium, being placed onto the
    16 ground or into the soil at or near the Foss Plating Source Property. Soil and soil vapor
    17 samples taken at the Foss Plating Source Property have detected: chloroform;
    18 hexavalent chromium (and, potentially, other chromium compounds); 1,1-DCE;
    19 nickel; PCE; 1,1,1-TCA; and TCE. Soil contaminated with PCE and hexavalent
    20 chromium was concentrated around one of the plating lines and a trench drain on the
    21 property, which a consultant of Foss Plating concluded was the likely source of a
    22 plume of chromium contamination in the soil under the plant. Soil samples taken near
    23 Foss Plating’s wastewater treatment system revealed PCE and high levels of
    24 chromium. During a joint inspection by the California Department of Toxics
    25 Substance Control (“DTSC”) and the Santa Fe Springs Fire Department, inspectors
    26 found the ground around the plating line soaked with plating solution and found
    27 evidence of releases of PCE, chromium, and nickel to the soil on the property. In
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     1 2003, a corroded clarifier was removed from the property and contemporaneous soil
     2 samples found the soil contaminated with chromium.
     3         184. Upon information and belief, the hazardous substances present in the
     4 soil at the Foss Plating Source Property have migrated and continue to migrate
     5 downward into the saturated zone beneath the property and have come to be located in
     6 the groundwater, resulting in contamination of the groundwater with: chloroform;
     7 hexavalent chromium (and, potentially, other chromium compounds); 1,1-DCE;
     8 PCE; and TCE. In 2006, a consultant for Foss Plating concluded that, based on Foss
     9 Plating’s historical use of PCE and chromium and the contamination data, Foss
    10 Plating could be a source of groundwater contamination on the property.
    11         185. Because hazardous substances were deposited, stored, disposed of, or
    12 placed, or otherwise came to be located at the Foss Plating Source Property, the Foss
    13 Plating Source Property is a “facility” within the meaning of Section 101(9) of
    14 CERCLA, 42 U.S.C. § 9601(9).
    15         186. Upon information and belief, contaminants in the soil and in the
    16 groundwater from the soil at the Foss Plating Source Property have migrated offsite in
    17 the same general direction as the groundwater flow. In 2003, DTSC concluded that
    18 hazardous wastes released at the Foss Plating Source Property had migrated, or may
    19 migrate, offsite through soil, surface water, groundwater, air, particulate matter, and
    20 water run-off channels.
    21         187. In 2010, EPA concluded that hexavalent chromium, PCE, and TCE had
    22 been released at the Foss Plating Source Property, and indicated that investigations
    23 had concluded that Foss Plating was a contributor to soil and groundwater
    24 contamination with chromium, PCE, and zinc. In or around September 2012,
    25 Plaintiffs allege on information and belief, EPA sent an SNL to Foss Plating, which,
    26 among other things, identifies Foss Plating as a PRP for the OU-2 Facility
    27 groundwater contamination, and solicits an offer for Foss Plating to perform the OU-2
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     1 Facility remedial design and remedial action and pay EPA’s unreimbursed response
     2 costs.
     3                             iii.   Continuing Migration of Contaminants
     4          188. As alleged above, releases of contaminants have occurred at the Foss
     5 Plating Source Property and are continuing to occur. The contaminants continue to
     6 migrate away from the property, posing a continuing threat to the regional
     7 groundwater and the health of area residents.
     8          189. Foss Plating has not taken adequate steps to remediate the onsite and
     9 near-site soils, from which contaminants are migrating. Nor has Foss Plating
    10 adequately monitored the extent to which contaminants continue to migrate from the
    11 Foss Plating Source Property into offsite groundwater. The Foss Plating Source
    12 Property does not have a groundwater monitoring system in place that is sufficient to
    13 demonstrate that releases from the property to regional groundwater above
    14 health-based levels have been fully controlled.
    15          190. Site soils at the Foss Plating Source Property are highly contaminated.
    16 In 1999, PCE was detected up to 48 ppb in very shallow soils at the property. In 2004,
    17 concentrations for hexavalent chromium were widespread with the highest reading at
    18 807 ppm at a 10 foot depth. In 2006, hexavalent chromium was found in certain
    19 borings up to 1,800 ppm. Soil vapor data in 2006 indicated PCE to depths of 15 feet
    20 bgs.
    21          191. The extent of onsite soil contamination at the Foss Plating Source
    22 Property has not been fully delineated both vertically and laterally. There remain
    23 numerous potential onsite contamination sources including historical degreaser
    24 operations, the plating room area, the underground clarifier, and the overall
    25 wastewater treatment system.
    26          192. The Foss Plating Source Property has three onsite wells. MW-3 is
    27 downgradient of the other two and is located approximately 80 feet within the
    28 downgradient property boundary and contains the highest concentrations of PCE at


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     1 490 µg/l. Hexavalent chromium has been detected in groundwater at concentrations
     2 greater than 900 µg/l.
     3         193. There are no offsite groundwater monitoring wells and the lateral and
     4 vertical extent of offsite groundwater contamination from the Foss Plating Source
     5 Property has not been assessed.
     6                      e.    The Mission Linen Source Property – 11904-11920 East
     7                            Washington Boulevard
     8         194. Upon information and belief, releases of contamination have occurred
     9 from property located at and/or adjacent to 11904-11920 East Washington Boulevard,
    10 Santa Fe Springs, California and businesses operating thereon (the “Mission Linen
    11 Source Property”).
    12                            i.     Source Property Ownership and Operation
    13         195. From approximately 1960 to 1973, Whittier Laundry Company operated
    14 a dry cleaning business on the Mission Linen Source Property. In 1973, Defendant
    15 Mission Linen acquired the Mission Linen Source Property, and began conducting
    16 industrial laundry operations on or about that same year.
    17         196. Defendant Mission Linen ceased operations at the Mission Linen Source
    18 Property by 1992 but, upon information and belief, continues to own the property.
    19                            ii.    Disposal & Releases of Hazardous Substances
    20         197. Upon information and belief, hazardous substances were disposed of at
    21 the Mission Linen Source Property between 1960 and 1992.
    22         198. Dry cleaning operations routinely involve the use of solvents to remove
    23 stains from fabrics. After World War II, PCE became the most popular and primary
    24 solvent used by most dry cleaners in the United States. Other solvents used at dry
    25 cleaning facilities may include 1,1,1-TCA and TCE. The clothes are cleaned in a
    26 liquid solution consisting mostly of solvent, usually PCE, with very little water if any
    27 (hence, the term “dry cleaning”). These solvents are ordinarily stored in large
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     1 underground storage tanks. Large dry cleaning facilities may purchase more than
     2 2,000 gallons of PCE each year.
     3         199. Used solvent is typically distilled and purified on the property so that it
     4 can be reused. This process separates the solvent from waste residues like detergents,
     5 dye, dirt and oil, and involves the use of filters to purify the solvent. Still residue from
     6 this process and used filters, both of which contain solvent and certain solvent
     7 residues, like PCE, are hazardous waste that must be properly disposed. Large dry
     8 cleaning facilities may generate more than 2,000 pounds of hazardous waste each
     9 month, which is often stored onsite before being disposed.
    10         200. Wastewater and cooling water generated in the dry cleaning process also
    11 contain solvents that must be properly disposed or treated. Dry cleaning facilities
    12 have been known to dispose of water containing PCE or other solvents into shallow
    13 disposal systems such as dry wells and septic systems, sewer systems and settling
    14 basins.
    15         201. Industrial laundries may also generate waste containing solvents and
    16 metals, such as hexavalent chromium. Industrial laundries receive and launder rags
    17 and industrial wipes from a wide variety of industrial operations, many of which are
    18 soaked in solvents and contain metal waste. These hazardous substances are removed
    19 from the rags and wipes during laundering and must be disposed of by the laundry.
    20         202. Several sumps located at the Mission Linen Source Property were found
    21 to contain: PCE; 1,1,1-TCA; 1,1-DCE; t-1,2-DCE; chromium; and zinc. Mission
    22 Linen used numerous underground storage tanks on the property to store fuel and
    23 waste oil at least until 1987. When those tanks were removed in 1987, soil under the
    24 tanks was found to be contaminated with hazardous substances. In 1993, the Los
    25 Angeles County Fire Department issued a notice of violation to Mission Linen for
    26 improper waste storage practices. In 1996, soil at the Mission Linen Source Property
    27 was found to be contaminated and a plume of PCE was identified beneath the Source
    28 Property. A 2000 property assessment also identified PCE in the soil at the Mission


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     1 Linen Source Property. Soil samples taken at the Mission Linen Source Property in
     2 2010 revealed the presence of benzene, c-1,2-DCE, PCE, and TCE. Even after a soil
     3 vapor extraction system had removed 430 pounds of PCE from the soil on the
     4 property, PCE contamination was still prevalent in the soil. Soil vapor samples taken
     5 at the Mission Linen Source Property in 2013 continued to show the presence of
     6 xylene contamination.
     7         203. Upon information and belief, the hazardous substances present in the
     8 soil at and underneath the Mission Linen Source Property, including: PCE;
     9 c-1,2-DCE; t-1,2-DCE; 1,1-DCE; and TCE, have migrated downward into the
    10 saturated zone beneath the Mission Linen Source Property and have come to be
    11 located in the groundwater. A property assessment conducted in 2000 found PCE in
    12 the groundwater at the Mission Linen Source Property and concluded that it had
    13 migrated there from the soil at the Mission Linen Source Property. TCE and 1,1-DCE
    14 were also discovered in groundwater on the property. EPA has previously concluded
    15 that the Mission Linen Source Property has impacted groundwater with PCE and
    16 TCE, and confirmed that c-1,2-DCE, 1,1-DCE, and 1,2-DCA are present in
    17 groundwater.
    18         204. Because hazardous substances were deposited, stored, disposed of, or
    19 placed, or otherwise came to be located at the Mission Linen Source Property, the
    20 Mission Linen Source Property is a “facility” within the meaning of Section 101(9) of
    21 CERCLA, 42 U.S.C. § 9601(9).
    22         205. Groundwater monitoring data indicates that the contaminants in the
    23 groundwater from the soil at the Mission Linen Source Property have migrated offsite
    24 in the same general direction as the groundwater flow. In 2005, data showed that the
    25 concentrations of PCE in the groundwater near the Mission Linen Source Property
    26 were highest just downgradient from the former dry cleaning building.
    27         206. In 2010, EPA concluded that Mission Linen had impacted groundwater
    28 with PCE and TCE and concluded that the company was a source of contamination to


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     1 the OU-2 Facility. In or around September 2012, Plaintiffs allege on information and
     2 belief that EPA sent an SNL to Mission Linen, which, among other things, identifies
     3 Mission Linen as a PRP for the OU-2 Facility groundwater contamination, and
     4 solicits an offer for Mission Linen to perform the OU-2 Facility remedial design and
     5 remedial action and pay EPA’s unreimbursed response costs.
     6                      f.     The Phibro-Tech Source Property – 8851 Dice Road
     7         207. Upon information and belief, releases of contaminants have occurred
     8 from property located at and/or adjacent to 8851 Dice Road, Santa Fe Springs,
     9 California and businesses operating thereon (the “Phibro-Tech Source Property”).
    10                             i.    Source Property Ownership and Operation
    11         208. Since 1957, Defendant Phibro-Tech and its predecessor companies have
    12 conducted chemical manufacturing and reprocessing operations at the Phibro-Tech
    13 Source Property, consisting primarily of the manufacture of inorganic chemicals, both
    14 from raw ingredients and from used chemicals and hazardous wastes sent to the
    15 property. Inorganic chemicals are typically used for industrial or manufacturing
    16 purposes. Chemical manufacture inherently carries with it the risk of chemical
    17 releases to the environment and the EPA has noted that one of the most frequently
    18 released hazardous wastes from inorganic chemical manufacturing operations is
    19 chromium.
    20         209. In 1957, a predecessor to Defendant Phibro-Tech named Pacific Western
    21 Chemical Company (renamed Southern California Chemical Company in 1959)
    22 began operating at the Phibro-Tech Source Property, leasing the property from
    23 Pacific Electric Railway Company. Pacific Electric Railway merged into Defendant
    24 Union Pacific (then known as Southern Pacific Company) in 1965.
    25         210. In 1961, the predecessor to Union Pacific entered into an agreement with
    26 Phibro-Tech’s predecessor, the Southern California Chemical Company, to construct,
    27 maintain, and operate an industrial railway spur on the property to facilitate rail
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     1 shipments to and from the Phibro-Tech Source Property and, in 1964, the two
     2 companies entered into a lease for the related property.
     3         211. Since at least 1963, Phibro-Tech and its predecessors have received
     4 hazardous waste on the property for use in chemical manufacturing. Upon
     5 information and belief, Does 101 through 250 generated hazardous waste and
     6 arranged for its disposal and/or treatment at the Phibro-Tech Source Property.
     7         212. In 1984, CP Chemicals, Inc. purchased the Phibro-Tech Source Property
     8 and Southern California Chemical became a subsidiary of CP Chemicals. Shortly
     9 after the purchase, a Santa Fe Springs city official observed that key management of
    10 the plant—including those directly responsible for improper discharges of hazardous
    11 waste—were the same personnel who had held those positions prior to the purchase.
    12         213. In 1985, Union Pacific, then known as the Southern Pacific
    13 Transportation Company, deeded the property that CP Chemicals had purchased to
    14 Defendant First Dice, a subsidiary of CP Chemicals and corporate affiliate of
    15 Phibro-Tech.
    16         214. In 1994, after several name changes, the operating company on the
    17 property was renamed Phibro-Tech, Inc.
    18                            ii.   Disposal & Releases of Hazardous Substances
    19         215. Upon information and belief, significant quantities of hazardous
    20 substances, including hexavalent chromium and other chromium compounds and
    21 PCE were stored, used, or were otherwise present in hazardous waste at the
    22 Phibro-Tech Source Property. Since at least 1963, Phibro-Tech and its predecessors
    23 have also received hazardous waste on the property for use in chemical
    24 manufacturing.
    25         216. Upon information and belief, the operators of the Phibro-Tech Source
    26 Property have had a long history of improper waste handling, storage, and disposal
    27 techniques, which have resulted in disposal of hazardous substances at the
    28 Phibro-Tech Source Property since at least 1957, and significant releases into the


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     1 environment. In 1959, Phibro-Tech’s predecessor received a notice of violation for
     2 numerous egregious waste disposal practices, including discharging hexavalent
     3 chromium through a pipe that emptied onto land adjacent to the property and dumping
     4 hexavalent chromium on the ground at the entrance to the property; the company
     5 readily admitted to both violations.
     6         217. Phibro-Tech received numerous notices of violation and complaints for
     7 its active discharge of hazardous waste onto the railroad right-of-way on the property
     8 and failing to maintain adequate containment processes to keep waste from spilling
     9 onto the right-of-way. Ultimately, a misdemeanor charge was pressed against
    10 Phibro-Tech’s predecessor for discharging waste onto the right-of-way, public
    11 streets, and private property. In 1987, the Los Angeles County District Attorney
    12 brought another criminal charge against Phibro-Tech’s predecessor for additional
    13 statutory hazardous waste violations.
    14         218. In 2000 and 2003, Phibro-Tech received notices of violation for
    15 discharging wastewater with excessive amounts of toxic organic chemicals. In 2003,
    16 DTSC found numerous waste storage violations at the Phibro-Tech Source Property,
    17 including Phibro-Tech’s storage of approximately nine thousand drums of hazardous
    18 waste on the property, almost three times the number of drums Phibro-Tech was
    19 authorized to store. In 2009 and 2011, Phibro-Tech again was found to be in violation
    20 of hazardous waste storage requirements.
    21         219. Phibro-Tech’s operations and waste disposal practices resulted in one or
    22 more hazardous substances, including but not limited to hexavalent chromium, being
    23 placed onto the ground or into the soil at or near the Phibro-Tech Source Property.
    24 Soil and soil gas samples collected at the Phibro-Tech Source Property have revealed
    25 the presence of: barium; benzene; cadmium; chloroform; hexavalent chromium (and,
    26 potentially, other chromium compounds); total chromium; copper; 1,1-DCA;
    27 1,2-DCA; 1,1-DCE; 1,2-DCE; c-1,2-DCE; t-1,2-DCE; DCM; ethylbenzene; nickel;
    28 PCE; polychlorinated biphenyls; 1,1,1-TCA; TCE; toluene; xylene; and zinc. Soil


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     1 contaminated with hexavalent chromium has been found to be especially high near a
     2 former chromic acid underground storage tank, a wastewater pond, the railroad
     3 tracks, and a drum storage area. In 1961, Phibro-Tech’s predecessor was using an
     4 unlined sludge pond on the property, was cited for discharging sludge that contained
     5 19.5% volatile solids, including chromium, into a sewer.
     6         220. In 1968, county inspectors observed visible evidence that wastewater
     7 had been discharged to the ground on the property. The inspectors also learned that
     8 an exposed sump on the property that was designed to store tank spillage and leaks for
     9 recovery, overflowed during wet weather events. Upon information and belief, the
    10 contents of the sump contained hazardous substances that spilled onto the adjacent
    11 railroad and into a field, where it was absorbed into the ground. On or before May 21,
    12 1976, waste liquids were discharged at the Phibro-Tech Source Property, which
    13 resulted in saturation of the soil with numerous chemicals, including solvents and
    14 chromium. In 1984, a sewer line at the Phibro-Tech Source Property leaked,
    15 discharging wastewater to the ground, where it formed a small pond, and led to the
    16 nearby reporting of a solvent odor. In 1985, a consultant concluded that chromium
    17 contamination in the soil may have originated from a combination of surface spillage,
    18 wastewater ponds, and a leaking hexavalent chromium underground storage tank. An
    19 assessment of the property two years later found extensive evidence of leakage and
    20 spillage, including chemical discoloration of most of the pavement and equipment in
    21 the process areas, leading to the conclusion that a wastewater pond and chromium
    22 underground storage tank were potential sources of contamination.
    23         221. Upon information and belief, the hazardous substances present in the
    24 soil at the Phibro-Tech Source Property have migrated and continue to migrate
    25 downward into the saturated zone beneath the property and have come to be located in
    26 the groundwater, resulting in contamination of the groundwater with: benzene;
    27 cadmium; chloroform; hexavalent chromium and other chromium compounds; total
    28 chromium; copper; 1,1-DCA; 1,2-DCA; 1,1-DCE; c-1,2-DCE; t-1,2-DCE; DCM;


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     1 ethylbenzene; PCE; 1,1,1-TCA; TCE; toluene; xylene; and zinc. As early as 1968,
     2 the Los Angeles Department of County Engineers, upon inspection of the property,
     3 concluded that historically poor waste handling practices and the deteriorated state of
     4 the plant and its containment system had created a critical groundwater pollution
     5 problem at the plant. In 1993, two plumes of contaminated groundwater were
     6 determined to originate on the property: a TCE plume and a chromium plume, both of
     7 which originated in the vicinity of a former chromic acid underground storage tank.
     8 In 1994, EPA and DTSC concluded that ponds at the Phibro-Tech Source Property
     9 had contributed to cadmium, chromium, and high-volatility organic compound
    10 contamination of the regional aquifer. A Phibro-Tech consultant likewise concluded
    11 in 2005 that a former underground storage tank, a spent container storage area,
    12 drainage ditch, and the railroad dumping location were potential sources of
    13 halogenated VOCs and chromium contamination, with the ditch and railroad
    14 dumping being the most likely sources. In 2013, DTSC concluded that TCE
    15 contamination of the groundwater on the property originated from a release of
    16 chlorinated solvents including TCE on the property.
    17         222. Defendant Union Pacific (then known as Southern Pacific Company)
    18 was aware of the contamination occurring at the Phibro-Tech Source Property, which
    19 Union Pacific then owned, as early as 1968 when Union Pacific reported to
    20 Phibro-Tech’s predecessor that a very large quantity of chemical substance had
    21 saturated the roadbed and ground under the industrial railroad spur, and concluded
    22 that chemical wastes had been allowed to flow onto the ground for an extended period
    23 of time. Despite knowledge of the contamination occurring on the property, upon
    24 information and belief, Union Pacific did not curb its tenants’ practices, take steps to
    25 mitigate the spread of contaminants or remediate the contamination that was already
    26 present on its property.
    27         223. Because hazardous substances were deposited, stored, disposed of, or
    28 placed, or otherwise came to be located at the Phibro-Tech Source Property, the


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     1 Phibro-Tech Source Property is a “facility” within the meaning of Section 101(9) of
     2 CERCLA, 42 U.S.C. § 9601(9).
     3          224. Upon information and belief, contaminants in the groundwater from the
     4 soil at the Phibro-Tech Source Property have migrated offsite in the same general
     5 direction as the groundwater flow. In 1994, EPA and DTSC concluded that
     6 groundwater data indicated hazardous substances such as 1,2-DCA, chromium, and
     7 TCE were migrating downgradient from two ponds at the Phibro-Tech Source
     8 Property.
     9          225. Plaintiffs allege on information and belief that in or around September
    10 2012, EPA sent SNLs to Phibro-Tech and Union Pacific, which, among other things,
    11 identify those Defendants as PRPs for the OU-2 Facility groundwater contamination
    12 and solicit offers for Phibro-Tech and Union Pacific to perform the OU-2 Facility
    13 remedial design and remedial action and pay EPA’s unreimbursed response costs.
    14 Plaintiffs further allege on information and belief that EPA sent an SNL to First Dice,
    15 which, among other things, identifies First Dice as a PRP for the OU-2 Facility
    16 groundwater contamination, and solicits an offer for First Dice to perform the OU-2
    17 Facility remedial design and remedial action and pay EPA’s unreimbursed response
    18 costs.
    19                             iii.   Continuing Migration of Contaminants
    20          226. As alleged above, releases of contaminants have occurred at the
    21 Phibro-Tech Source Property and are continuing to occur. The contaminants
    22 continue to migrate away from the property, posing a continuing threat to the regional
    23 groundwater and the health of area residents.
    24          227. Neither Union Pacific, nor First Dice, nor Phibro-Tech has taken
    25 adequate steps to remediate the onsite and near-site soils, from which contaminants
    26 are migrating. None has adequately monitored the extent to which contaminants
    27 continue to migrate from the Phibro-Tech Source Property into offsite groundwater.
    28 The Phibro-Tech Source Property does not have an off-site downgradient


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     1 groundwater monitoring system in place that is sufficient to demonstrate that releases
     2 from the property to regional groundwater above health-based levels have been fully
     3 controlled. Upon information and belief, Union Pacific and First Dice are and have
     4 been aware of the contamination occurring at the property, which they own or owned.
     5         228. Phibro-Tech Source Property soils continue to adversely impact
     6 groundwater. In 2001, a TCE footprint was identified at the Phibro-Tech Source
     7 Property that extended northeast-southwest approximately between the spent
     8 container storage area (“SCSA”) and the plate and frame filter press. Concentrations
     9 ranged up to 62 µg/l. A deeper footprint extended northeast-southwest approximately
    10 between the SCSA and the southern end of Pond 1 with concentrations under the
    11 SCSA up to 452 µg/l.
    12         229. Soil impacts were identified in 2007 from 103 soil samples collected to a
    13 depth of 75 feet bgs. The five most commonly detected halogenated VOCs were
    14 TCE, 1,1-DCA, c-1,2-DCE, 1,1-DCE, and PCE. The highest TCE reading was
    15 12,000 µg/kg at 30 feet bgs. Hexavalent chromium levels ranged from 0.22 mg/kg
    16 (14 feet bgs) to 330 mg/kg (43 feet bgs).
    17         230. Wells at the Phibro-Tech Source Property boundaries are impacted by
    18 TCE and PCE above MCLs for those contaminants.
    19         231. The upgradient well to downgradient well concentration trend for onsite
    20 wells is consistent with continuing contribution to groundwater from identified source
    21 areas at the Phibro-Tech Source Property.
    22         232. In January 2012, concentrations of PCE and TCE in the southern
    23 Phibro-Tech Source Property boundary wells (MW-05, MW-07, and MW06B) were
    24 reported to be above MCL levels. The data trend for TCE in MW-06D (which is
    25 screened in the Lower Hollydale Aquifer) marks an increasing trend. Based on data
    26 in the surrounding area, these results and trends are attributable to the Phibro-Tech
    27 Source Property.
    28


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     1         233. The lack of an adequate downgradient (offsite) monitoring well network
     2 to evaluate continuing contribution represents a significant data gap in the site
     3 conceptual model and an inability to accurately assess the quantity of mass
     4 contribution to regional groundwater impacts. Today there are no offsite
     5 groundwater wells and insufficient property boundary wells. There is no adequate
     6 well system capable of defining the lateral and vertical extent of current contaminants
     7 originating from the Phibro-Tech Source Property.
     8                      g.    The Pilot Chemical Source Property – 11756 Burke Street
     9         234. Upon information and belief, releases of contamination have occurred
    10 from property located at and/or adjacent to 11756 Burke Street, Santa Fe Springs,
    11 California and businesses operating thereon (the “Pilot Chemical Source Property”).
    12                            i.     Source Property Ownership and Operation
    13         235. Defendant Pilot Chemical began operating a chemical manufacturing
    14 plant at the Pilot Chemical Source Property in 1951, and acquired the Pilot Chemical
    15 Source Property in 1966.
    16         236. Defendant Pilot Chemical’s operations at the Pilot Chemical Source
    17 Property included the manufacture of chemicals, such as: detergents and emulsifiers.
    18 Chemicals used in the process of Defendant Pilot Chemical’s operations included
    19 1,2-DCA; toluene; and xylene. 1,4-Dioxane is a common byproduct associated with
    20 the manufacture of these chemicals and was included in the hazardous materials
    21 inventory filed by Defendant Pilot Chemical in 2000, and is a constituent of concern
    22 at the OU-2 Facility.
    23         237. In 2008, Defendant Pilot Chemical ceased operations at the Pilot
    24 Chemical Source Property.
    25                            ii.    Disposal & Releases of Hazardous Substances
    26         238. Upon information and belief, hazardous substances were disposed of at
    27 the Pilot Chemical Source Property between 1951 and 2008.
    28


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     1         239. Defendant Pilot Chemical’s operations at the Pilot Chemical Source
     2 Property generated approximately 13,000 gallons of wastewater per day, including
     3 such chemicals as alkyl and alkyl aryl sulfonates and sulfates, amides, and detergent
     4 mixtures. Pilot Chemical also generated other chemical waste, such as sulfonic acid,
     5 sulfuric acid, and xylene.
     6         240. As of 1975, Defendant Pilot Chemical’s operations at the Pilot Chemical
     7 Source Property involved the use of a wide variety of raw chemicals, including:
     8 ammonia; caustic soda; coconut oil; detergent alkylate; diethanolamine; maleic
     9 anhydride; sodium bisulfate; sodium sulfate; sulfur dioxide; sulfur trioxide; sulfuric
    10 acid; triethanolamine; and xylene.
    11         241. As of 1986, Defendant Pilot Chemical stored: C10-C12 alkylbenzene;
    12 C10-C13 alkylbenzene; ammonia; sodium hydroxide; sulfur dioxide; and xylene in
    13 underground storage tanks at the Pilot Chemical Source Property. Benzene and
    14 toluene were also stored on the property during this time.
    15         242. Upon information and belief, hazardous substances used, stored, or
    16 otherwise present in hazardous waste in the chemical manufacturing operations at the
    17 Pilot Chemical Source Property include: alkylbenzene; benzene; chloroform;
    18 chromium; 1,4-dioxane; linear alkyl benzene sulphonic acid (“LABSA”); toluene;
    19 and toluene sulfonic acid.
    20         243. Defendant Pilot Chemical has a long history of improper waste storage
    21 and handling of hazardous substances. Upon information and belief, as of 1954,
    22 Defendant Pilot Chemical was disposing of liquid industrial waste into dry wells at
    23 the Pilot Chemical Source Property. In 1959, a fatal fire occurred at the Pilot
    24 Chemical Source Property, resulting in the spillage of large amounts of hazardous
    25 chemicals. The fire broke out in the area of the plant where the solvent toluene was
    26 converted into acid. Toluene and toluene sulfonic acid, which spilled during the fire,
    27 were so dangerous that they reportedly dissolved the shoes of the firefighters who
    28 responded to the scene. In 1960, a Los Angeles County inspector detected explosive


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     1 gas in the sewer at the Pilot Chemical Source Property, the cause of which was
     2 believed to be a leaking toluene container. In 1970, Defendant Pilot Chemical was
     3 issued a notice of violation and was ordered to clean up chemical deposits at the Pilot
     4 Chemical Source Property resulting from the discharge of chemicals into the ground.
     5 In 1976, Defendant Pilot Chemical was issued a cleanup and abatement order in
     6 response to a chemical spill that had occurred at the Pilot Chemical Source Property.
     7         244. Upon information and belief, Defendant Pilot Chemical’s operations and
     8 waste disposal practices resulted in one or more hazardous substances being placed
     9 onto the ground or into the soil at or near the Pilot Chemical Source Property. These
    10 substances included but not limited to: benzene; toluene; and 1,2-DCA. An
    11 inspection of the Pilot Chemical Source Property in 1981 found that tanks used for
    12 holding or mixing LABSA were leaking and spilling onto unpaved ground, resulting
    13 in LABSA ponding near the tanks. The LABSA tanks were still leaking during a
    14 1985 inspection of the property. In 1984, Defendant Pilot Chemical was found to
    15 have improperly disposed of wastewater containing excessive amounts of
    16 ethylbenzene and xylene. In 1985, a CERCLA property inspection found a stream of
    17 chemicals running from the Pilot Chemical Source Property onto railroad tracks
    18 adjacent to the property.
    19         245. In 1988, the Los Angeles Department of Public Works was informed of a
    20 release of benzene and xylene from an underground storage tank at the Pilot Chemical
    21 Source Property. Soil samples taken that year in the vicinity of underground storage
    22 tanks showed elevated levels of xylene. Upon information and belief, the 1,2-DCA
    23 present in the soil at the Pilot Chemical Source Property is the result of spills
    24 associated with Defendant Pilot Chemical’s manufacture of styrene-maleic anhydride
    25 copolymers on the Pilot Chemical Source Property and from leaks or spills from an
    26 old emergency wastewater storage tank.
    27         246. In 1989, an inspector observed discolored soil in an area of the Pilot
    28 Chemical Source Property where raw chemical materials were stored, noted that


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     1 small spills had accumulated in the area, and observed that pumps and pipes were
     2 leaking. In 1990, five underground storage tanks were removed from the Pilot
     3 Chemical Source Property. The soil in the vicinity of those tanks was found to be
     4 contaminated with VOCs. In 1992, two aboveground storage tanks that had held
     5 detergent alkylate containing alkylbenzene were removed from the Pilot Chemical
     6 Source Property. The soil in the vicinity of the tanks was contaminated by spills from
     7 piping and pumps associated with the tanks. Other soil on the property was also
     8 found to be contaminated with hazardous substances. Approximately 2,140 tons of
     9 contaminated soil was removed from the Pilot Chemical Source Property in 1992.
    10         247. As of 2009, a soil vapor extraction system that began operating at the
    11 Pilot Chemical Source Property in 2006 had extracted approximately 3,637 pounds of
    12 VOCs from soil on the property. Soil vapor samples taken that year showed that,
    13 despite the removal of almost two tons of VOCs from the soil, the soil on the property
    14 was still contaminated with: benzene; chloroform; 1,2-DCA; PCE; TCE; and vinyl
    15 chloride. An additional 8,919 pounds of VOCs were removed from the soil by vapor
    16 extraction between January 2011 and April 2012. In 2010, an underground storage
    17 tank was removed from the Pilot Chemical Source Property. This underground
    18 storage tank, which was the source of the 1,2-DCA contamination, was the old
    19 emergency waste water tank that stopped being used in the 70s but was forgotten
    20 about until it was closed in place in 1992 and finally removed in 2010. This provided
    21 a continuing source of contamination for over 30 years. Soil samples taken in the
    22 vicinity of the tank showed elevated levels of 1,2-DCA. During the demolition of
    23 portions of the Pilot Chemical Source Property in 2011, PCE was found in soil in the
    24 vicinity of a clarifier, beneath a warehouse pad, beneath a terra cotta clay pipe, near a
    25 wastewater interceptor, and in a parking lot. Benzene was also detected in the soil. In
    26 2013, soil samples at the Pilot Chemical Source Property showed the presence of:
    27 benzene; chloroform; 1,2-DCA; 1,1-DCE; c-1,2-DCE; DCM; PCE; and TCE.
    28


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     1         248. Upon information and belief, the hazardous substances present in the
     2 soil at the Pilot Chemical Source Property have migrated and continue to migrate
     3 downward into the saturated zone beneath the property and have come to be located in
     4 the groundwater – specifically: PCE; TCE; 1,2-DCA; c-1,2-DCE; ethylbenzene;
     5 Freon 11; benzene; and chloroform. In 1988, it was determined that soil
     6 contamination extended below the water table, and groundwater was found to be
     7 contaminated with benzene: chloroform; and 1,2-DCA. Groundwater sampling
     8 subsequently conducted at the Pilot Chemical Source Property in the 1990s detected
     9 the presence of: benzene; chloroform; 1,2-DCA; ethylbenzene; PCE; and TCE. The
    10 concentrations of 1,2-DCA were highest near the area where the UST was removed in
    11 2010, suggesting that the UST was the source of the contamination. Further sampling
    12 of the groundwater at the Pilot Chemical Source Property in 2009 and 2012 detected:
    13 benzene; chloroform; 1,2-DCA; c-1,2-DCE; PCE; and TCE. In 2013, groundwater
    14 sampling detected: chloroform; chromium; 1,2-DCA; 1,1-DCE; c-1,2-DCE; Freon
    15 11; PCE; and TCE.
    16         249. Because hazardous substances were deposited, stored, disposed of, or
    17 placed, or otherwise came to be located at the Pilot Chemical Source Property, the
    18 Pilot Chemical Source Property is a “facility” within the meaning of Section 101(9) of
    19 CERCLA, 42 U.S.C. § 9601(9).
    20         250. Upon information and belief, contaminants, both measured and not yet
    21 measured, in the soil and in the groundwater from the soil at the Pilot Chemical
    22 Source Property have migrated offsite in the same general direction as the
    23 groundwater flow.
    24         251. Plaintiffs allege on information and belief that in or around September
    25 2012, EPA sent an SNL to Pilot Chemical, which, among other things, identifies Pilot
    26 Chemical as a PRP for the OU-2 Facility groundwater contamination, and solicits an
    27 offer for Pilot Chemical to perform the OU-2 Facility remedial design and remedial
    28 action and pay EPA’s unreimbursed response costs.


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     1                            iii.   Continuing Migration of Contaminants
     2         252. As alleged above, releases of contaminants have occurred at the Pilot
     3 Chemical Source Property and are continuing to occur. The contaminants continue to
     4 migrate away from the property, posing a continuing threat to the regional
     5 groundwater and the health of area residents.
     6         253. Pilot has not taken adequate steps to remediate the onsite and near-site
     7 soils, resulting in a continuing source for contaminant migration. It has not
     8 adequately monitored the extent to which contaminants continue to migrate from the
     9 Pilot Chemical Source Property into offsite groundwater, and the Pilot Chemical
    10 Source Property does not have a groundwater monitoring system in place that is
    11 sufficient to demonstrate that releases from the property to regional groundwater
    12 above health-based levels have been fully controlled.
    13         254. Recent data continue to show high levels of contaminants in shallow and
    14 deep soils at the Pilot Chemical Source Property with concentrations of hydrocarbons
    15 in soil gas greater than 100,000 ppbv and concentrations of 1,2-DCA in both shallow
    16 and deep soil gas ranging from 500 to 120,000 ppbv.
    17         255. The most downgradient well at the Pilot Chemical Source Property,
    18 MW-9, has consistently demonstrated TCE concentrations greater than 100 µg/l.
    19 Improved data are needed to characterize the source of the TCE currently found in
    20 MW-9. Additionally, an additional downgradient monitoring well location is
    21 necessary to delineate the lateral and vertical extent of off-site Contaminant migration
    22 into groundwater.
    23         256. Total chromium was found in limited on-site soil sampling at the Pilot
    24 Chemical Source Property. Moreover, hexavalent chromium and total chromium
    25 were found in limited on-site groundwater sampling. Given the presence of
    26 hexavalent chromium above health-based levels in the regional groundwater, it is
    27 important to fully characterize hexavalent chromium in soils and groundwater at this
    28 property.


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     1               2.    The GNL Defendants’ Source Properties
     2                     a.     The Continental Source Property – 10643 South Norwalk
     3                            Boulevard
     4         257. Upon information and belief, releases of contamination have occurred
     5 from property located at and/or adjacent to 10643 South Norwalk Boulevard, Santa
     6 Fe Springs, California and businesses operating thereon (the “Continental Source
     7 Property”).
     8                            i.    Source Property Ownership and Operation
     9         258. Defendant Continental conducts metalwork operations at the
    10 Continental Source Property, consisting primarily of heat treating of metal, and has
    11 done so there since at least 1969.
    12         259. Defendant Continental Development purchased the Norwalk Boulevard
    13 property in 2002, and, upon information and belief, remained the property owner until
    14 2013, when Continental purchased the Continental Source Property. Upon
    15 information and belief, Continental is currently the property owner.
    16         260. Continental Development purports to have dissolved and wound up its
    17 affairs on or about December 31, 2013. However, as early as March 1997,
    18 Continental, the surviving general partner of Defendant Continental Development,
    19 knew that the Continental Source Property was contaminated with VOCs, including
    20 TCE and PCE, and that the contamination had impacted subsurface soils at the
    21 property. Further, prior to its dissolution, Continental Development, through its
    22 general partner Continental, knew that EPA contended that an area of groundwater
    23 contamination underlying the Whittier and Santa Fe Springs communities, including
    24 under the Continental Source Property, extended approximately 4 ½ miles. Plaintiffs
    25 further allege upon information and belief that EPA sent Continental Development’s
    26 general partner, Continental, a copy of EPA’s 2011 Record of Decision for OU-2 in
    27 which EPA sets out its conclusions concerning: the nature and extent of the
    28 groundwater contamination; the types of chemicals impacting the groundwater,


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     1 including TCE and PCE, the purported source properties of the contamination,
     2 including the former Omega Chemical property; the Selected Remedy and estimated
     3 costs to design, implement and maintain that remedy.
     4         261. Prior to its dissolution, Defendant Continental Development knew that
     5 EPA had identified the Continental Source Property as a source of the regional
     6 groundwater contamination and knew that it could be held liable, as an owner of that
     7 property, for OU-2 response costs, including costs to design, implement and maintain
     8 the Selected Remedy.
     9         262. Continental Development also knew prior to its dissolution that EPA had
    10 determined that there were other sources of the regional groundwater contamination,
    11 that EPA had sent Special Notice Letters to numerous PRPs associated with these
    12 other alleged source properties which EPA contended were liable for OU-2 response
    13 costs, and that the Special Notice Letters demanded that the recipients reimburse EPA
    14 for its unreimbursed costs and agree to perform the work to address the OU-2
    15 contamination.
    16         263. Upon information and belief, Plaintiffs allege that EPA provided
    17 Continental Development’s general partner, Continental, with a list of the PRPs that
    18 received Special Notices Letters, which included Plaintiffs, and the contact
    19 information for those PRPs. EPA encouraged Continental to contact these PRPs to
    20 discuss allocating responsibility amongst themselves for OU-2 responses costs.
    21         264. Prior to its dissolution, Continental Development knew, or should have
    22 known, about Plaintiffs’ claims against it for liability to address the OU-2 Facility
    23 groundwater, including but not limited to injunctive relief, as more fully alleged
    24 below, to abate the imminent and substantial endangerment to health and the
    25 environment and to prevent groundwater exceeding health-based levels from
    26 continuing to leave the Continental Source Property, past response costs incurred to
    27 address the regional groundwater contamination, and costs to design, implement and
    28 maintain the Selected Remedy. However, neither Continental Development, nor


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     1 anyone acting on its behalf, has ever provided actual or publication notice of its
     2 dissolution to Plaintiffs in accordance with the requirements set forth under California
     3 Corporations Code sections 15908.06 or 15908.07, or otherwise.
     4                              ii.   Disposal & Releases of Hazardous Substances
     5         265. Upon information and belief, significant quantities of hazardous
     6 substances, including hexavalent chromium and the solvents PCE and 1,1,1-TCA,
     7 were stored, used, or were otherwise present at the Continental Source Property.
     8 Upon information and belief, from 1969 (when Continental installed two vapor
     9 degreasers at the Continental Source Property) until at least 1994 (when Continental
    10 reported it had ceased conducting vapor degreasing on the property), Continental
    11 generated approximately 2,200 gallons of waste PCE annually in connection with its
    12 metal treating operations.
    13         266. Continental used a cooling tower at the Continental Source Property
    14 that, upon information and belief, contained hexavalent chromium, consistent with
    15 other similar metalworking operations that typically used chromium in cooling towers
    16 until the South Coast Air Quality Management District prohibited such use in 1990.
    17         267. Continental has repeatedly been found to be in violation of hazardous
    18 substance regulations. In 1988, the Santa Fe Springs Fire Department issued a notice
    19 of violation as a result of Continental’s discharge of “blow down” water from its
    20 cooling tower to the street. In 1989, the Los Angeles County Fire Department issued
    21 a notice of violation following Continental’s disposal of waste oil onto the ground and
    22 overfilling of hazardous waste containers. Additionally, Continental was known to
    23 store waste PCE in 55-gallon drums. In 1994, the Los Angeles County Fire
    24 Department investigated the location at the property where Continental had operated
    25 a vapor degreaser at the Continental Source Property and found evidence of spills,
    26 leaks, and sloppy practices. Based on its findings, the Los Angeles County Fire
    27 Department issued a notice of violation and order to develop a plan to address the
    28 contamination. Between 1999 and 2008, at a rate of almost once a year, the Santa Fe


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     1 Springs Fire Department issued seven notices of violation to Continental for releases
     2 of chemicals resulting from the overflow of chemicals used in metal plating and
     3 Continental’s improper storage of hazardous waste.
     4         268. Upon information and belief, Continental has had repeated catastrophic
     5 accidents or conducted operations in a manner that resulted in sudden discharges of
     6 hazardous waste, including but not limited to illegal discharge of PCE into subsurface
     7 soil. In the ten months between October 2, 1987 and August 1, 1988, there were three
     8 fires that started in Continental’s degreaser tank that, upon information and belief,
     9 resulted in spills or other releases of chlorinated solvents. In 1986, the cooling tower
    10 pump at the Continental Source Property broke, resulting in an overflow of a
    11 blue-green chemical mixture into the street. In 1987, an earthquake caused
    12 Continental’s cooling tower pump to break again, resulting in another discharge of
    13 chemicals to the street.
    14         269. Continental’s operations and waste disposal practices resulted in one or
    15 more hazardous substances, including but not limited to chromium, PCE, and TCE,
    16 being placed onto the ground or into the soil at or near the Continental Source
    17 Property. Soil and soil gas samples taken at the Continental Source Property have
    18 contained: benzene; chromium; 1,2-DCE; c-1,2-DCE; t-1,2-DCE; PCE; toluene; and
    19 vinyl chloride. Upon information and belief, the wastewater released from the
    20 cooling tower in the leaks of 1986 and 1987, as well as the discharge to the street in
    21 1988, contained chromium. Soil samples taken at the Continental Source Property
    22 have repeatedly shown PCE contamination at high concentrations in soil in the areas
    23 where Continental conducted its degreasing operations. There are also very high
    24 concentrations of PCE in soil gas at 15’ bgs in the northwest corner of the site where
    25 the liquid chemical storage area was.
    26         270. Upon information and belief, the hazardous substances present in the
    27 soil at the Continental Source Property have migrated and continue to migrate
    28 downward into the saturated zone beneath the property and have come to be located in


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     1 the groundwater, resulting in contamination of the groundwater with: benzene;
     2 c-1,2-DCE; t-1,2-DCE; PCE; toluene; and vinyl chloride. An investigation of the
     3 property in 1997 concluded that soil contamination at the Continental Source
     4 Property extended to the groundwater.
     5         271. Because hazardous substances were deposited, stored, disposed of, or
     6 placed, or otherwise came to be located at the Continental Source Property, the
     7 Continental Source Property is a “facility” within the meaning of Section 101(9) of
     8 CERCLA, 42 U.S.C. § 9601(9).
     9         272. Data indicates that the contaminants in the groundwater from the soil at
    10 the Continental Source Property have migrated offsite, both in the groundwater in the
    11 same general direction as the groundwater flow, as well as through the soil. The Los
    12 Angeles County Fire Department concluded that chlorinated hydrocarbons could
    13 have migrated offsite from Continental’s degreasing operations.
    14         273. In 2010, EPA concluded that Continental was a potential source of PCE,
    15 TCE, and their degradation products in the regional groundwater. In or around
    16 December 2013, EPA sent a GNL to Continental, which, among other things,
    17 identifies Continental as a PRP for the OU-2 Facility groundwater contamination, and
    18 requests a response as to Continental’s willingness to negotiate regarding its liability
    19 for the OU-2 Facility response costs.
    20                             iii.   Continuing Migration of Contaminants
    21         274. As alleged above, releases of contaminants have occurred at the
    22 Continental Source Property and are continuing to occur. The contaminants continue
    23 to migrate away from the property, posing a continuing threat to the regional
    24 groundwater and the health of area residents.
    25         275. Neither Continental nor Continental Development has taken adequate
    26 steps to remediate the onsite and near-site soils, from which contaminants are
    27 migrating. Neither has adequately monitored the extent to which contaminants
    28 continue to migrate from the Continental Source Property into offsite groundwater.


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     1 The Continental Source Property does not have a groundwater monitoring system in
     2 place that is sufficient to demonstrate that releases from the property to regional
     3 groundwater above health-based levels have been fully controlled. Upon information
     4 and belief, Continental and Continental Development are and have been aware of the
     5 contamination occurring at the property, which each owns or once owned.
     6         276. In 1995 and 1997, TCE and PCE were detected in the vicinity of the
     7 former vapor degreaser at the Continental Source Property at depths from the surface
     8 down to 60 feet bgs (the depth of groundwater) which ranged from 7.7 µg/kg to 4,759
     9 µg/kg and 31 µg/kg – 7,514 µg/kg, respectively. The highest concentrations were at
    10 the surface which would indicate spillage; however, levels stayed high throughout the
    11 soil column.
    12         277. Soil vapor sampling at the Continental Source Property in 1996 and
    13 1997 identified PCE (1.172 mg/L) and TCE (103 µg/L) impacts to depths down to the
    14 maximum depth analyzed, 35 feet bgs. Soil vapor sampling performed in 2011
    15 continues to demonstrate significant impacts in soil vapor to depths of 90 feet bgs.
    16 PCE was detected at 15 feet bgs at 12,742 µg /l.
    17         278. In 2010, soil sampling at the Continental Source Property confirmed
    18 chlorinated solvent impacts to soils at the property at depths between the surface and
    19 90 feet bgs. Additional soil sampling in 2011 and 2012 indicate PCE (up to 3.51
    20 mg/kg at 30 feet bgs) and TCE (up to 206 µg/kg at 35 feet bgs) impacts in soils from
    21 the surface to depths up to 95 feet bgs. Significant subsurface soil contamination was
    22 also present for other chlorinated materials.
    23         279. PCE contamination down to groundwater levels was detected at the
    24 Continental Source Property as early as 1995. Monitoring has found concentrations
    25 for PCE (up to 338 µg/L) and TCE (up to 224 µg/L) in onsite wells continuing to
    26 exceed health-based levels by significant levels across the site. Other VOCs,
    27 including benzene, chloroform, 1,1-DCA, c-1,2-DCA, t-1,2-DCA, 1,2-DCA,
    28 1,1-DCE, and vinyl chloride have been recorded as frequently exceeding California


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     1 environmental screening levels during every monitoring period and at every well,
     2 between August 2010 and October 2013.
     3         280. There are no offsite wells associated with the property to provide for an
     4 assessment of the lateral and vertical extent of contaminants leaving the Continental
     5 Source Property and entering the regional groundwater. Without an adequate offsite
     6 groundwater monitoring network, it is not possible to evaluate the extent to which any
     7 source control activities will prevent the continued release of contaminants to
     8 groundwater above health-based levels.
     9                     b.     The Mobil Jalk Fee Source Property – 10607 Norwalk
    10                            Boulevard
    11         281. Upon information and belief, releases of contamination have occurred
    12 from property located at and/or adjacent to the former address 10607 Norwalk
    13 Boulevard, Santa Fe Springs, California and businesses operating thereon (the “Mobil
    14 Jalk Fee Source Property”).
    15                            i.    Source Property Ownership and Operation
    16         282. Since 1922, the Mobil Jalk Fee Source Property has been used for oil
    17 extraction, production, transportation and storage operations. General Petroleum
    18 Corporation, a predecessor company to Defendant ExxonMobil, acquired the Mobil
    19 Jalk Fee Source Property in 1922 and conducted oil drilling operations there until the
    20 1940s.
    21         283. In 1926, the Standard Oil Company of New York (or “Socony”),
    22 purchased General Petroleum Corporation and became the owner of the property.
    23 Socony changed its name to Socony Mobil Oil Company in 1955, which in turn
    24 became the Mobil Oil Corporation in 1966.
    25         284. As of 1941, Hathaway Company was operating at the Mobil Jalk Fee
    26 Source Property, constructing and operating oil wells. Upon information and belief,
    27 Hathaway Company leased the Mobil Jalk Fee Source Property from ExxonMobil’s
    28 predecessors. In 1971, Hathaway Company merged into a company called Pyramid


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     1 Oil Company. Following reorganization in 1985, the merged entity’s Southern
     2 California operations were spun off into a new Hathaway Company, which continued
     3 to operate at the Mobil Jalk Fee Source Property until in or around 1999. All
     4 operations at the Mobil Jalk Fee Source Property ceased around 2000.
     5         285. In 1988, Mobil Oil gifted the Mobil Jalk Fee Source Property to Mobil
     6 Foundation, Inc., and, through a series of transactions in 1999 and 2000, Mobil
     7 Foundation subdivided the property and sold it.
     8                            ii.   Disposal & Releases of Hazardous Substances
     9         286. Upon information and belief, hazardous substances were disposed of at
    10 the Mobil Jalk Fee Source Property between 1922 and 2000.
    11         287. From 1938 to until at least 1956, a portion of the Mobil Jalk Fee Source
    12 Property was used as a “boneyard” dumping area for metal refuse, including, upon
    13 information and belief, refuse containing chromium. As early as 1988, preliminary
    14 investigations of the Mobil Jalk Fee Source Property identified several environmental
    15 areas of concern and areas requiring further assessment.
    16         288. Upon information and belief, the operations and hazardous substances
    17 handling practices of ExxonMobil, its predecessors, and its lessees have resulted in
    18 one or more hazardous substances, including but not limited to chromium and the
    19 solvents PCE and TCE, being released to the ground or into the soil at or near the
    20 Mobil Jalk Fee Source Property. Soil and soil vapor samples taken at the Mobil Jalk
    21 Fee Source Property have detected: chloroform; chromium; 1,1-DCA; 1,1-DCE;
    22 c-1,2-DCE; t-1,2-DCE; DCM; Freon 11; 1,1,2,2-tetrachloroethane; PCE; TCE; and
    23 vinyl chloride. In 1988, halogenated VOCs were detected in soil samples taken from
    24 the property. In 1991, soil samples were taken from various portions of the Mobil
    25 Jalk Fee Source Property revealed the presence of PCE, TCE and c-1,2-DCE in the
    26 portion of the property that had formerly operated as an aboveground storage tank
    27 farm. Additionally, chromium was found in the “boneyard,” where metal refuse was
    28 dumped, and both benzene and chromium have been detected in soil from the former


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     1 tank farm area. EPA observed that operations at the Mobil Jalk Fee Source Property
     2 included the dumping of materials from trucks on an unpaved lot. Soil samples taken
     3 at the Mobil Jalk Fee Source Property in 1995 found PCE contamination at the
     4 northern end of the property, near a former trucking operations area. In 1998,
     5 approximately 2,600 tons of near-surface soil that was contaminated with chlorinated
     6 solvents was removed from the Mobil Jalk Fee Source Property.
     7         289. Upon information and belief, the hazardous substances present in the
     8 soil at the Mobil Jalk Fee Source Property have migrated and continue to migrate
     9 downward into the saturated zone beneath the property and have come to be located in
    10 the groundwater, resulting in contamination of the groundwater with: chloroform;
    11 chromium; 1,1-DCA; 1,1-DCE; c-1,2-DCE; t-1,2-DCE; Freon 11; PCE; TCE; and
    12 vinyl chloride.
    13         290. Because hazardous substances were deposited, stored, disposed of, or
    14 placed, or otherwise came to be located at the Mobil Jalk Fee Source Property, the
    15 Mobil Jalk Fee Source Property is a “facility” within the meaning of Section 101(9) of
    16 CERCLA, 42 U.S.C. § 9601(9).
    17         291. Upon information and belief, contaminants in the groundwater from the
    18 soil at the Mobil Jalk Fee Source Property have migrated offsite in the same general
    19 direction as the groundwater flow.
    20         292. In 2010, EPA concluded that the Mobil Jalk Fee Source Property is a
    21 source of PCE, TCE, and their daughter products that are present in groundwater
    22 within the OU-2 Facility. In or around December 2013, EPA sent a GNL to
    23 ExxonMobil, which, among other things, identifies ExxonMobil as a PRP for the
    24 OU-2 Facility groundwater contamination, requests a response as to ExxonMobil’s
    25 willingness to negotiate regarding its liability for the OU-2 Facility response costs,
    26 and requests certain information about the status of ExxonMobil’s activities.
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     1                            iii.   Continuing Migration of Contaminants
     2         293. As alleged above, releases of contaminants have occurred at the Mobil
     3 Jalk Fee Source Property and are continuing to occur. The contaminants continue to
     4 migrate away from the property, posing a continuing threat to the regional
     5 groundwater and the health of area residents.
     6         294. ExxonMobil has not taken adequate steps to remediate the onsite and
     7 near-site soils, from which contaminants are migrating. Nor has ExxonMobil
     8 adequately monitored the extent to which contaminants continue to migrate from the
     9 Mobil Jalk Fee Source Property into offsite groundwater. The Mobil Jalk Fee Source
    10 Property does not have an offsite downgradient groundwater monitoring system in
    11 place that is sufficient to demonstrate that releases from the property to regional
    12 groundwater above health-based levels have been fully controlled.
    13         295. Soil sampling at the Mobil Jalk Fee Source Property in 1994 indicated
    14 PCE (up to 55 ppm) and TCE (up to 2.7 ppm) impacts in soils up to depths of 48 feet
    15 and 30 feet bgs, respectively. Soil sampling in 1995 identified PCE and TCE impacts
    16 to depths of 55 feet and 40 feet bgs, respectively. Soil sampling in 1997 identified
    17 PCE and TCE impacts to depths of 60 feet bgs.
    18         296. In 2000, piping that had been associated with crude oil transport, four oil
    19 wells, above-ground storage tanks from the former tank farm, and some soil were
    20 removed from the Mobil Jalk Fee Source Property. A total of 63 trenches were dug
    21 and excavated in seven areas across the site from depths ranging from 6 feet to 24 feet
    22 bgs. After the soil and pipe removal activities had taken place, PCE-impacted soil
    23 was found up to 2.5 ppm at 8 feet below grade. Soil sampling performed in 2011
    24 during installation of wells MW-6, -7, and -8 showed TCE and PCE contamination at
    25 a wide range of depths. Soil and soil vapor testing in 2012 also showed very elevated
    26 PCE and TCE levels and showed increasing soil concentrations with depth.
    27 Continued investigation at the Mobil Jalk Fee Source Property shows highly
    28 contaminated soils at a wide range of depths.


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     1         297. Soil vapor sampling at the Mobil Jalk Fee Source Property from 2012 to
     2 2013 to depths of 82 feet bgs identified PCE at every depth sampled from 5 feet to 82
     3 feet bgs ranging from 120 mg/m3 to 48,000 mg/m3. TCE was also detected in every
     4 sample, at every depth, ranging from 9.8 mg/m3 to 580 mg/m3.
     5         298. Groundwater concentrations for PCE, and TCE in wells at the Mobil Jalk
     6 Fee Source Property are detected at concentrations up to 1800 µg/l, and 255 µg/l
     7 respectively, orders of magnitude above health-based levels.
     8         299. Since the early 2000s, there has not been a clear upgradient well to
     9 compare onsite contaminant levels to and to determine what, if any, upgradient
    10 sources there are. Previously, groundwater concentrations across the property
    11 (upgradient to downgradient) for PCE and TCE showed an increasing trend of
    12 contamination as water moved across the property. In 2011, MW-6B, downgradient
    13 of the majority of Mobil Jalk Fee Source Property soil contamination, contained
    14 concentrations of PCE at 1200 µg/l. In addition, MW9A, B, and C are also
    15 downgradient of historic practices which resulted in soil contamination. In
    16 November 2011, these groundwater results also significantly exceeded PCE MCLs.
    17         300. The Mobil Jalk Fee Source Property has gone for many years with high
    18 levels of contaminated soils remaining in the ground onsite below the level of the
    19 previous excavations. These soils continue to act as a continuing source of
    20 groundwater contamination. There has been no meaningful effort made to control
    21 source soils below depths of 15 feet to 24 feet bgs.
    22               3.    The Non-Notice Letter Defendants’ Source Properties
    23                     a.     The Associated Plating Source Property – 9636 Ann Street
    24         301. Upon information and belief, releases of contamination have occurred
    25 from property located at and/or adjacent to 9636 Ann Street, Santa Fe Springs,
    26 California and businesses operating thereon (the “Associated Plating Source
    27 Property”).
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     1                             i.     Source Property Ownership and Operation
     2         302. Since at least 1978, various defendants have leased the Associated
     3 Plating Source Property from other defendants and have conducted specialty metal
     4 plating operations at the Associated Plating Source Property, consisting primarily of
     5 electroplating and electroless plating of metal parts for military, electronic, aerospace,
     6 and commercial uses. Electroplating is the process by which a thin surface coating of
     7 one metal is applied to a part made of another metal by placing the part in a bath of
     8 chemical plating solution and using an electric current to transfer metal ions.
     9 Electroless plating likewise deposits a thin metal coating on a part by immersing it in
    10 a chemical plating solution without the use of electric current. Electroplating and
    11 electroless plating both generate wastewater containing chromium and other metals as
    12 well as toxic organic chemicals. Additionally, before a part can be plated, it is
    13 typically cleaned of foreign substances, such as oil and grease, using a vapor
    14 degreaser and a solvent, resulting in solvent waste.
    15         303. In 1977, the owners of Associated Plating, Defendants Gordon McCann,
    16 Lynnea McCann, Darrell Golnick, Clare Golnick and Cheryl Golnick (collectively,
    17 the “Golnicks”), purchased the Associated Plating Source Property. From 1978 to
    18 1993, the Golnicks leased the Associated Plating Source Property to Associated
    19 Plating, though in 1990, Defendant Mary Golnick had transferred her interest in the
    20 property to Darrell Golnick.
    21         304. In 1993, Defendant APC purchased the Associated Plating Source
    22 Property. APC continued to lease the Associated Plating Source Property to
    23 Associated Plating until 1999, when Defendant Associated Plating Inc. purchased the
    24 operating company.
    25         305. Since 1999, Associated Plating Inc. (at times operating as Associated
    26 Plating Acquisition Corp.) has leased the Associated Plating Source Property from
    27 APC and continued plating operations on the property.
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     1                            ii.   Disposal & Releases of Hazardous Substances
     2         306. Upon information and belief, hazardous substances were disposed of at
     3 the Associated Plating Source Property since 1978.
     4         307. Since 1981, when Associated Plating installed a vapor degreaser at the
     5 Associated Plating Source Property, Associated Plating and Associated Plating Inc.
     6 used PCE in connection with their plating operations. Additionally, Associated
     7 Plating Inc. and, upon information and belief, Associated Plating used compounds
     8 containing chromium to plate items with that metal.
     9         308. The Defendants associated with the Associated Plating Source Property
    10 have repeatedly been found in violation of hazardous substance regulations. In 1983,
    11 Associated Plating was cited for discharging wastewater used in parts washing into
    12 the street. In 2001, the DTSC concluded that Associated Plating Inc. had violated
    13 numerous hazardous substances regulations, including improper waste storage and
    14 handling procedures. In 2000 and 2002, the Santa Fe Springs Fire Department issued
    15 notices of violation to Associated Plating Inc. for improper storage of hazardous
    16 waste and for releases of chemicals, including leaking drums and unpermitted
    17 discharge of run-off water into the sewer. In 2002, the Santa Fe Springs Fire
    18 Department also discovered that Associated Plating Inc. was treating chromium waste
    19 without a permit. In 2007, the Santa Fe Springs Fire Department issued yet another
    20 notice of violation when it discovered a chemical mixture containing chromium in a
    21 trench at the Associated Plating Source Property. In 2003, 2005, and 2010, EPA
    22 found Associated Plating Inc. in violation of numerous hazardous waste handling and
    23 storage requirements, including storage of hazardous waste without a permit and
    24 storage of hazardous waste in open containers.
    25         309. Associated Plating’s and Associated Plating Inc.’s operations and waste
    26 disposal practices resulted in one or more hazardous substances, including but not
    27 limited to PCE and chromium, being placed onto the ground or into the soil at or near
    28 the Associated Plating Source Property. Soil samples taken at the Associated Plating


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     1 Source Property have contained: benzene; chloroform; hexavalent chromium (and,
     2 potentially, other chromium compounds); 1,1-DCA; 1,1-DCE; c-1,2-DCE;
     3 t-1,2-DCE; DCM; MTBE; PCE; TCE; toluene; and vinyl chloride. In 2000, the Santa
     4 Fe Springs Fire Department cited Associated Plating Inc. for unpermitted discharge
     5 of run-off water into the sewer. In 2002, the Santa Fe Springs Fire Department
     6 observed leaking chemical drums at the Associated Plating Source Property. In 2007,
     7 a liquid chemical mixture was found in a trench at the Associated Plating Source
     8 Property that contained chromium.
     9         310. Upon information and belief, the hazardous substances present in the
    10 soil at the Associated Plating Source Property have migrated and continue to migrate
    11 downward into the saturated zone beneath the property and have come to be located in
    12 the groundwater, resulting in contamination of the groundwater with PCE and vinyl
    13 chloride. In 2012, DTSC determined that the high level of vinyl chloride in the soil at
    14 the Associated Plating Source Property indicated the property was a likely source of
    15 vinyl chloride in the groundwater. In 2013, DTSC observed that PCE contamination
    16 on the property extended through the soil to the groundwater level.
    17         311. Because hazardous substances were deposited, stored, disposed of, or
    18 placed, or otherwise came to be located at the Associated Plating Source Property, the
    19 Associated Plating Source Property is a “facility” within the meaning of Section
    20 101(9) of CERCLA, 42 U.S.C. § 9601(9).
    21         312. Upon information and belief, contaminants in the groundwater from the
    22 soil at the Associated Plating Source Property have migrated offsite in the same
    23 general direction as the groundwater flow.
    24                            iii.   Continuing Migration of Contaminants
    25         313. As alleged above, releases of contaminants have occurred at the
    26 Associated Plating Source Property and are continuing to occur. The contaminants
    27 continue to migrate away from the property, posing a continuing threat to the regional
    28 groundwater and the health of area residents.


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     1         314. Neither Associated Plating Inc. nor Associated Plating nor APC nor the
     2 Golnicks has taken adequate steps to remediate the onsite and near-site soils, from
     3 which contaminants are migrating. None has adequately monitored the extent to
     4 which contaminants continue to migrate from the Associated Plating Source Property
     5 into offsite groundwater. The Associated Plating Source Property does not have a
     6 groundwater monitoring system in place that is sufficient to demonstrate that releases
     7 from the property to regional groundwater above health-based levels have been fully
     8 controlled. Upon information and belief, APC and the Golnicks are and have been
     9 aware of the contamination occurring at the property, which they own or owned.
    10         315. Soil samples that have been collected from the Associated Plating
    11 Source Property demonstrate significant releases of contaminants. Soil samples
    12 collected in the 2004 and 2005 time period were focused on soils depths less than 10
    13 feet. Concentrations of PCE, TCE, and vinyl chloride in those shallow soils exhibited
    14 high levels of contamination.
    15         316. Levels found in shallow soil gas sampling performed at the Associated
    16 Plating Source Property in 2004 and 2005 also support the need to conduct
    17 assessment of the deeper soils.
    18         317. DTSC has determined that the high level of vinyl chloride in soil
    19 indicates the Associated Plating Source Property is a likely source of the vinyl
    20 chloride that has been detected in groundwater.
    21         318. Upon information and belief, no work plan for the Associated Plating
    22 Source Property exists that would fully characterize the lateral and vertical extent of
    23 contamination in onsite soils deeper than 35 feet bgs and in groundwater below the
    24 property and emanating from the property in a downgradient direction into the
    25 regional groundwater.
    26         319. Determination of the lateral and vertical extent of contaminants in soil
    27 and groundwater, both onsite at the Associated Plating Source Property and offsite, is
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     1 necessary to complete the site conceptual model and adequately define necessary
     2 remedial activities. This includes careful characterization of hexavalent chromium.
     3         320. The lack of well placement along the southern boundary of the property,
     4 downgradient from the former vapor degreasers, as well as offsite, precludes an
     5 adequate understanding of the continuing impact of Associated Plating Source
     6 Property soil contamination on offsite groundwater.
     7                      b.     The Cenco Refining Source Property – 12345-12354
     8                             Lakeland Road
     9         321. Upon information and belief, releases of contamination have occurred
    10 from property located at and/or adjacent to 12345-12354 Lakeland Road, Santa Fe
    11 Springs, California and businesses operating thereon (the “Cenco Refining Source
    12 Property”).
    13                             i.    Source Property Ownership and Operation
    14         322. In the late 1930s, Rothschild Oil Company, predecessor to Defendant
    15 Powerine, acquired the Cenco Refining Source Property, and in 1936, the County of
    16 Los Angeles approved the Cenco Refining Source Property location for oil refinery
    17 operations. Processing operations produced leaded and unleaded gasoline, aviation
    18 fuel, jet fuel, diesel fuel, petroleum cake, kerosene, coke and sulfur.
    19         323. In 1995, oil refining operations ceased at the Cenco Refining Source
    20 Property.
    21         324. In 1998, Defendant Powerine sold the property and plant.
    22                             ii.   Disposal & Releases of Hazardous Substances
    23         325. Upon information and belief, hazardous substances were disposed of at
    24 the Cenco Refining Source Property when each of the Defendants owned or operated
    25 it.
    26         326. As of 1975, the Cenco Refining Source Property was discharging 11.8
    27 million gallons of wastewater to a storm drain at the plant per day. As of 1990,
    28 Defendant Powerine’s operations at the Cenco Refining Source Property included use


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     1 of chlorinated solvents and chromium. Between 1993 and 1998, Defendant Powerine
     2 shipped hazardous waste from the Cenco Refining Source Property containing
     3 benzene; chromium; PCE; and other solvents.
     4         327. As of 1996, carbon tetrachloride and PCE were stored at the Cenco
     5 Refining Source Property. As of 1997, Defendant Powerine used a solvent at the
     6 Cenco Refining Source Property containing: benzene; lead; MEK; PCE; and TCE. It
     7 also used 1,2-DCA and PCE, which were stored in above-ground tanks. For years
     8 after the plant closed, chemicals were stored onsite with the purported intention that
     9 Defendant Powerine eventually would resume operations.
    10         328. Other hazardous substances stored, used, or were otherwise present in
    11 the hazardous waste in the refining operations at the Cenco Refining Source Property
    12 between 1936 and 2012 include: arsenic; benzene; chloroform; chromium;
    13 hexavalent chromium; copper; 1,2-DCA; 1,1-DCE; c-1,2-DCE; t-1,2-DCE; DCM;
    14 dibenz[a,h]anthracene; Freon 113; MEK; poly-aromatic hydrocarbons (“PAHs”);
    15 sulfides; 1,1,1-TCA; 1,1,2-TCA; thiols; thiosulfate; toluene; and vinyl chloride.
    16         329. The Cenco Refining Source Property has a history of extensively and
    17 pervasively failing to safely handle and store chemicals and hazardous waste. During
    18 a 1996 inspection of the Cenco Refining Source Property, for example, an ongoing
    19 spill of oily water was observed and Defendant Powerine was issued a notice of
    20 violation for failure to document handling of solvents. In 1997, the Regional Water
    21 Quality Control Board ordered Defendant Powerine to clean up the property in order
    22 to abate the offsite migration of contaminants from the property.
    23         330. In 1999, an assessment conducted by the Santa Fe Springs Fire
    24 Department concluded that more than 50% of the 1,800 containers at the plant were in
    25 violation of waste management requirements. In 2000, the Santa Fe Springs Fire
    26 Department investigated over 1,000 drums at the Cenco Refining Source Property,
    27 the contents of some of which were not ascertainable, and many of which were in
    28 various stages of decay and corrosion. Many drum labels indicated that the drums


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     1 contained waste generated as early as 1995. Some drums had rusted, others were
     2 bulging, and at least one had ruptured. Hundreds of drums that once held hazardous
     3 materials were empty. Employees of Defendant Powerine were unable to identify the
     4 contents of many unlabeled drums. Many drums had been left open and spills were
     5 observed on the ground.
     6         331. Upon information and belief, Defendants Powerine’s operations and
     7 waste disposal practices resulted in one or more hazardous substances, including but
     8 not limited to: PCE; TCE; 1,2-DCA; 1,1-DCE; c-1,2-DCE; t-1,2-DCE; DCM;
     9 1,1,1,2-tetrachloroethane; benzene; chromium; chloroform; and vinyl chloride, being
    10 placed onto the ground or into the soil at or near the Cenco Refining Source Property.
    11 In 1986, soil samples taken at the Cenco Refining Source Property contained
    12 benzene, chromium and PCE. In 1990, during an inspection of the Cenco Refining
    13 Source Property’s hazardous waste area, drums labeled “unknown solid” were found
    14 to have corroded and leaked, resulting in the presence of an oily residue in the run-off
    15 water surface area. Between 1988 and 1993, Defendant Powerine disposed of
    16 approximately 1,163 pounds of carbon tetrachloride at the Cenco Refining Source
    17 Property. In 1996, soil samples taken at the Cenco Refining Source Property
    18 contained benzene and 1,1,1-TCA. In 1997, 1,2-DCA was detected in soil near
    19 storage tanks at the Cenco Refining Source Property. Other contaminants found in
    20 soil samples taken in 1997 included benzene. In 1999, soil samples were taken at the
    21 Cenco Refining Source Property containing hexavalent chromium (and, potentially,
    22 other chromium compounds) and PCE. In 2003, Lakeland Development disclosed
    23 that wastewater from the Cenco Refining Source Property contained benzene, MTBE
    24 and other VOCs.
    25         332. In 2000, the Santa Fe Springs Fire Department concluded that there had
    26 been historical contamination at the Cenco Refining Source Property with
    27 halogenated VOCs and that test results also suggested a recent release of TCE on the
    28 property. In 2006 and 2007, soil and soil gas samples taken from the Cenco Refining


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     1 Source Property were found to be contaminated with: benzene; chloroform;
     2 1,2-DCA; c-1,2-DCE; t-1,2-DCE; 1,1,1,2-tetrachloroethane; MTBE; hexavalent
     3 chromium; PCE; and TCE; and vinyl chloride. Soil tested from the Cenco Refining
     4 Source Property that same year contained total chromium, and samples taken from the
     5 Cenco Refining Source Property in 2009 and 2012 revealed that the soil was
     6 contaminated with numerous high-volatility organic compounds, including:
     7 chloroform; c-1,2-DCE; t-1,2-DCE; DCM; 1,1,1,2-tetrachloroethane; PCE; TCE; and
     8 vinyl chloride. Benzene, hexavalent chromium (as well as, potentially, other
     9 chromium compounds), total chromium, and MTBE were also detected.
    10         333. Upon information and belief, the hazardous substances present in the
    11 soil at the Cenco Refining Source Property have migrated and continue to migrate
    12 downward into the saturated zone beneath the property and have come to be located in
    13 the groundwater, specifically: PCE; TCE; 1,2-DCA; c-1,2-DCE; t-1,2-DCE;
    14 1,1,1,2-tetrachloroethane; benzene; chromium; chloroform; and vinyl chloride.
    15 Groundwater samples taken in 1986 from multiple wells across the property all
    16 contained benzene and some contained 1,2-DCA. Between 1987 and 1996, benzene,
    17 1,2-DCA, PCE; and TCE were detected in groundwater samples taken from the
    18 Cenco Refining Source Property. In 1995, an assessment of the Cenco Refining
    19 Source Property found that contaminants, including VOCs, had been released to the
    20 groundwater.
    21         334. In 2002, groundwater samples taken from the Cenco Refining Source
    22 Property were found to contain: benzene; chloroform; c-1,2-DCE; PCE; and TCE. In
    23 2006 and 2007, groundwater samples were found to be contaminated with: benzene;
    24 1,4-dioxane; chloroform; hexavalent chromium; 1,1-DCE; 1,1-DCA; 1,2-DCA;
    25 c-1,2-DCE; t-1,2-DCE; ethylbenzene; MTBE; PCE; TCE; vinyl chloride and xylene.
    26 Halogenated VOCs were concentrated near a storm water impoundment area and two
    27 storage tanks; high concentrations of PCE and TCE were found near a laboratory and
    28 a tank on the property; and 1,2-DCA was found in the middle of a storage tank area.


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     1 Groundwater monitoring at the Cenco Refining Source Property since 2010 has
     2 revealed the presence of: benzene; 1,2-DCA; 1,1-DCE; c-1,2-DCE; t-1,2-DCE; PCE;
     3 TCE; and vinyl chloride.
     4         335. Because hazardous substances were deposited, stored, disposed of, or
     5 placed, or otherwise came to be located at the Cenco Refining Source Property, the
     6 Cenco Refining Source Property is a “facility” within the meaning of Section 101(9)
     7 of CERCLA, 42 U.S.C. § 9601(9).
     8         336. Upon information and belief, contaminants in the soil and in the
     9 groundwater from the soil at the Cenco Refining Source Property have migrated
    10 offsite in the same general direction as the regional groundwater flow.
    11                            iii.   Continuing Migration of Contaminants
    12         337. As alleged above, releases of contaminants have occurred at the Cenco
    13 Refining Source Property and are continuing to occur. The contaminants continue to
    14 migrate away from the property, posing a continuing threat to the regional
    15 groundwater and the health of area residents.
    16         338. Powerine has not taken adequate steps to remediate the onsite and
    17 near-site soils, from which contaminants are migrating, including soil and
    18 groundwater contamination originating from the 12354 Lakeland Property and
    19 contamination caused due to the interconnecting pipelines to the former Marine
    20 Terminal. Nor has Powerine adequately monitored the extent to which contaminants
    21 continue to migrate from the Cenco Refining Source Property into offsite
    22 groundwater. The Cenco Refining Source Property does not have a groundwater
    23 monitoring system in place that is sufficient to demonstrate that releases from the
    24 property to regional groundwater above health-based levels have been fully
    25 controlled.
    26         339. Recent soil samples collected in 20 boring drilled to 90 feet bgs at the
    27 Cenco Refining Source Property detected concentrations of VOCs; PAHs; benzene,
    28 toluene, ethylbenzene, and xylenes (“BTEX”) and metals in significant


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     1 concentrations that in some cases were orders of magnitude above regulatory limits.
     2 TCE was found in site soils to depths of 70 feet at 100 µg/kg with 840 µg/kg found at
     3 30 feet bgs, 1,2-DCA which was at 190 µg/kg (90 feet bgs), 1,1,2-TCA at 340 µg/kg
     4 (80 feet bgs) and chloroform which was 2.3 mg/kg (60 feet bgs).
     5         340. In 2006, there was a soil gas survey at 221 locations at the Cenco
     6 Refining Source Property to a depth of 50 feet bgs. All 2 feet, 5 feet and 10 feet bgs
     7 samples were analyzed for VOCs and seventeen wells were analyzed for total
     8 petroleum hydrocarbons (“TPH”), VOCs, oxygenates, and hexavalent chromium.
     9 The highest concentrations of PCE and TCE were located just west of the laboratory.
    10 Another area of high concentration was near the crude unit and boiler feed water tank.
    11 Another location of 1,2-DCA was the middle of the west tank farm.
    12         341. The significant concentrations of BTEX, VOCs, and PAHs detected in
    13 onsite and downgradient wells demonstrate continued offsite migration of
    14 contaminants from the Cenco Refining Source Property, as demonstrated in
    15 MW-503B and MW-504.
    16         342. The presence of free product in wells demonstrate the presence of
    17 substantial source mass of contaminants at the Cenco Refining Source Property.
    18                     c.     The Patsouras Source Property – 11630-11700 Burke
    19                            Street
    20         343. Upon information and belief, releases of contamination have occurred
    21 from property located at and/or adjacent to 11630-11700 Burke Street, Santa Fe
    22 Springs, California and businesses operating thereon (the “Patsouras Source
    23 Property”).
    24                            i.       Source Property Ownership
    25         344. In 1969, a predecessor to Defendant Halliburton named Rucker acquired
    26 the Patsouras Source Property from Globe Oil Tools Company (“Globe”). Upon
    27 information and belief, as of 1970, Globe was a subsidiary of Rucker and, as of 1971,
    28 Globe held itself out to be a “division” of Rucker.


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     1         345. In 1972, William D. Palley and Defendant William K. Palley acquired
     2 the Patsouras Source Property from Rucker. In 1973, Defendant William K. Palley
     3 obtained sole ownership of the property.
     4         346. In 1984, Defendant William K. Palley deeded the Patsouras Source
     5 Property to the RCR Family Trust. In 1985, the RCR Family Trust deeded the
     6 Patsouras Source Property back to Defendant William K. Palley.
     7         347. In 1995, Defendant Kekropia (owned by Larry Patsouras) acquired the
     8 Patsouras Source Property and remains as the current property owner.
     9                            ii.    Source Property Operation
    10         348. As of 1958 and until at least 1972, Globe (sometimes doing business as
    11 Globe International, Inc.) operated at the Patsouras Source Property, manufacturing
    12 and treating oil well drilling equipment and tools. Those operations included the
    13 cleaning of parts before and after heat treating and painting, and as of 1970, a steam
    14 cleaner and a 100-gallon degreaser had been installed to clean parts. These operations
    15 generated between 500 to 1,000 gallons of waste per week, including cleaning and
    16 degreasing solutions, as well as dissolved metals.
    17         349. In 1973, Defendant Palley Supply and its owner, Defendant William K.
    18 Palley, began operations at the Patsouras Source Property, performing maintenance
    19 and warehousing of aircraft and hydraulic equipment. Defendants Palley Supply and
    20 William K. Palley ceased operations at the Patsouras Source Property in 1987.
    21         350. In 1997, El Greco Wholesale Grocers, Inc. and its owner, Larry
    22 Patsouras, began operating on the Patsouras Source Property as a wholesale grocery
    23 warehouse, and continue to operate there today.
    24                            iii.   Disposal & Releases of Hazardous Substances
    25         351. Upon information and belief, hazardous substances were disposed of at
    26 the Patsouras Source Property when each of the Defendants owned or operated it.
    27         352. The Patsouras Source Property has a long history of operators
    28 improperly handling and storing hazardous substances. In 1970, when the site was


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     1 owned by Defendant Halliburton’s predecessor, Rucker, Globe was issued a notice of
     2 violation for disposing of rinse water containing hexavalent chromium from its metal
     3 treating operations to the ground at the Patsouras Source Property. Additionally, at
     4 that time Globe was also discharging wastes from its steam cleaning operations to the
     5 ground. In 1978, Defendant William K. Palley received a notice of violation for
     6 disposing of industrial wastewater from steam cleaning operations into a sanitary
     7 sewer. In 1987, a criminal complaint was filed against Defendant William K. Palley
     8 by the Los Angeles County Department of Health Services for hazardous waste
     9 practices at the Patsouras Source Property. In 1988, Defendant William K. Palley
    10 pled guilty to the illegal transportation and disposal of hazardous waste. In addition,
    11 as of 1988, two subsurface clarifiers at the Patsouras Source Property had been
    12 abandoned full of waste. During a rainstorm that year, the clarifiers overflowed,
    13 spilling to the ground. The Santa Fe Springs Fire Department ordered Defendant
    14 William K. Palley to dispose of approximately 3,500 gallons of waste in the clarifiers
    15 and drums on the property.
    16         353. Contamination is greatest near the area of the property where fourteen
    17 containers were used to store paint and other hazardous substances.
    18         354. Upon information and belief, Globe’s, Rucker’s (predecessor to
    19 Defendant Halliburton) and Defendants Palley Supply’s, William K. Palley’s, and
    20 Kekropia’s operations and waste disposal practices resulted in the generation of one
    21 or more hazardous substances, including but not limited to: arsenic; barium; carbon
    22 tetrachloride; chloroform; chromium; cobalt; copper; 1,1-DCE; PCE and TCE being
    23 placed onto the ground or into the soil at or near the Patsouras Source Property. In
    24 1994, soil samples at the Patsouras Source Property indicated the soil was
    25 contaminated with: chloroform; chromium; PCE; and TCE. The highest levels of
    26 contamination were near the clarifiers and a storage shed where hazardous chemicals
    27 had been stored. An environmental consultant issued a report stating that soil
    28 remediation was necessary in those areas. In 2006, chromium was detected in soil at


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     1 the Patsouras Source Property. In 2009, soil samples revealed that the soil was
     2 contaminated with: carbon tetrachloride; chloroform; 1,1-DCE; PCE; and TCE. In
     3 2013, soil from the Patsouras Source Property was tested for heavy metals, and was
     4 determined to be contaminated with: arsenic; barium; chromium; cobalt; copper;
     5 nickel; vanadium; and zinc.
     6         355. Upon information and belief, the hazardous substances present in the
     7 soil at the Patsouras Source Property have migrated and continue to migrate
     8 downward into the saturated zone beneath the property and have come to be located in
     9 the groundwater, specifically, PCE, TCE, 1,1-DCE, chloroform, and hexavalent
    10 chromium. A groundwater sample taken in1994 detected the presence of chromium,
    11 PCE, and TCE in concentrations that exceeded drinking water standards.
    12 Groundwater monitoring at the Patsouras Source Property from 1995 to 2012 has
    13 found the groundwater on the property to be contaminated with: chloroform;
    14 hexavalent chromium; 1,1-DCE; PCE and TCE.
    15         356. Because hazardous substances were deposited, stored, disposed of, or
    16 placed, or otherwise came to be located at the Patsouras Source Property, the
    17 Patsouras Source Property is a “facility” within the meaning of Section 101(9) of
    18 CERCLA, 42 U.S.C. § 9601(9).
    19         357. Upon information and belief, contaminants in the soil and in the
    20 groundwater from the soil at the Patsouras Source Property have migrated offsite in
    21 the same general direction as the regional groundwater flow.
    22                            iv.   Continuing Migration of Contaminants
    23         358. As alleged above, releases of contaminants have occurred at the
    24 Patsouras Source Property and are continuing to occur. The contaminants continue to
    25 migrate away from the property, posing a continuing threat to the regional
    26 groundwater and the health of area residents.
    27         359. Neither Kekropia nor Palley Supply nor William Palley has taken
    28 adequate steps to remediate the onsite and near-site soils, from which contaminants


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     1 are migrating. None has adequately monitored the extent to which contaminants
     2 continue to migrate from the Patsouras Source Property into offsite groundwater.
     3 Upon information and belief, Kekropia and William Palley are and have been aware
     4 of the contamination occurring at the property, which they own or owned. The
     5 Patsouras Source Property does not have a groundwater monitoring system in place
     6 that is sufficient to demonstrate that releases from the property to regional
     7 groundwater above health-based levels have been fully controlled.
     8         360. There are numerous potential source areas at the Patsouras Source
     9 Property including the cooling tower area, the stained soil area, the clarifier/historical
    10 paint/steam cleaning area, the hazardous chemical storage shed, and the storm water
    11 clarifier. The characterization of the lateral and vertical extent of soil impacts from
    12 VOCs and hexavalent chromium remains incomplete after twenty years.
    13         361. In 1994, PCE and TCE were identified at significant levels in deep soils
    14 at the Patsouras Source Property. Chromium was also detected in site soils to depths
    15 of 35 feet bgs.
    16         362. Soil taken from certain areas of the Patsouras Source Property in 2006,
    17 to approximately 20 feet bgs, have been found to contain arsenic.
    18         363. In 2009, a soil gas survey was conducted at the Patsouras Source
    19 Property. The soil vapor exposure pathways and the consistent detections at the 15
    20 foot interval confirm the need to perform assessment of soil impacts at the 20 to 50
    21 foot intervals.
    22         364. PCE concentrations in MW-4, the most downgradient well at the
    23 Patsouras Source Property, continue to exceed the MCL. Hexavalent chromium
    24 levels have also been high in this well and from July 2009 through June 2012, the
    25 downgradient well has displayed the highest hexavalent chromium readings.
    26 However, this well is not downgradient of all of the various onsite source areas and
    27 MW-3, which is located adjacent to the former storage shed has the highest
    28 concentrations of hexavalent chromium.


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     1         365. The impacts of the remaining site soils on groundwater in the central
     2 portion of the Patsouras Source Property and along the southern portion of the
     3 property (within the downgradient flow direction) is not known as there are no
     4 monitoring wells in this area.
     5         366. The lack of a sentinel well downgradient of MW-4 and at the central
     6 portion of the southern Patsouras Source Property boundary does not allow for
     7 reasonable delineation of the lateral and vertical extent of impact to both onsite and
     8 offsite groundwater.
     9                      d.     The PMC Source Property – 10051 Romandel Avenue
    10         367. Upon information and belief, releases of contamination have occurred
    11 from property located at and/or adjacent to 10051 Romandel Avenue, Santa Fe
    12 Springs, California and businesses operating thereon (the “PMC Source Property”).
    13                             i.    Source Property Ownership and Operation
    14         368. From 1947 to 1992, certain entities conducted manufacturing operations
    15 at the PMC Source Property, manufacturing chemicals sold to other companies for the
    16 production of plastics, solvents, hydraulic fluids, gasoline additives, and paints.
    17         369. Sometime in or after 1947, a chemical company called Productol, Inc.
    18 purchased the PMC Source Property and conducted chemical manufacture operations
    19 there, involving, among other substances, cresylic acid, naphthenic acid, and
    20 alkylated phenols.
    21         370. In or about 1976, Defendant Ferro acquired the PMC Source Property
    22 and continued chemical manufacturing operations until 1986.
    23         371. In 1986, Defendant PMC acquired the Productol division and the PMC
    24 Source Property from Ferro and continued chemical manufacturing operations until
    25 1992.
    26                             ii.   Disposal & Releases of Hazardous Substances
    27         372. Upon information and belief, hazardous substances were disposed of at
    28 the PMC Source Property when Defendants Ferro and PMC owned or operated it.


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     1          373. While wastewater was disposed into the sewer at the PMC Source
     2 Property pursuant to a permit requiring treatment of the water before discharge, on
     3 multiple occasions in the 1970s (both before and after Ferro acquired the property),
     4 wastewater containing impermissible chemical levels was discharged. EPA records
     5 indicate that, between 1987 and 1992, cresol, MEK, phenol, propylene, styrene, and
     6 sulfuric acid were disposed of at the PMC Source Property. In 2011, EPA concluded
     7 that cresol and phenol had been disposed of at the PMC Source Property.
     8          374. For a few months in 1981, the PMC Source Property was licensed for the
     9 treatment of hazardous waste. That year, a survey of the PMC Source Property noted
    10 chemical drums stored on unpaved surfaces and the potential for runoff during a
    11 storm.
    12          375. In 1981 and 1985, soil contamination at the PMC Source Property was
    13 observed and resulted in a notice of violation from the California Department of
    14 Health Services. Some time prior to 1986, employees of Defendant Ferro observed
    15 benzene ponding near a storage tank at the PMC Source Property. In 1986, after
    16 Defendant PMC acquired the PMC Source Property, a fire at the plant damaged 12
    17 chemical storage tanks. In 1987, a storage tank was removed from the PMC Source
    18 Property and soil underneath the tank was found to be contaminated with: benzene;
    19 ethylbenzene; and other chemicals. The presence of benzene in the soil was
    20 determined to be the likely result of surface spillage from pipes associated with other
    21 nearby tanks. In 1988, benzene was observed ponding near two tanks at the PMC
    22 Source Property that was attributed to a leaking pipe. In 1988, Defendant PMC
    23 ceased using a chemical storage tank at the PMC Source Property that had two cracks
    24 in the side and a one-inch hole in the bottom. Analysis of the tank’s contents
    25 indicated that it had held benzene, p-cresol, ethylbenzene and 2-4-dimethylphenol.
    26          376. Between 1986 and 1992, soil investigations at the PMC Source Property
    27 revealed the presence of numerous hazardous substances, including: benzene;
    28 ethylbenzene; PCE; TCE; toluene; naphthalene; and 1,1,2-TCA. Several of these


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     1 substances, including, benzene; PCE; TCE; toluene; and 1,1,2-TCA, were found just
     2 below abandoned and removed chemical tanks. Soil sampling at the PMC Source
     3 Property in 2007 found benzene and TCE in the soil. Benzene concentrations were
     4 most significant near the former cresylic acid plant, the former alkylated phenol plant,
     5 and the southern tanks.
     6         377. Upon information and belief, the hazardous substances present in the
     7 soil at the PMC Source Property have migrated and continue to migrate downward
     8 into the saturated zone beneath the property and have come to be located in the
     9 groundwater, specifically: TCE; benzene; ethylbenzene; p-cresol; naphthalene; and
    10 2-4-dimethylphenol. For example, groundwater testing at the PMC Source Property
    11 in 1988 found: benzene; ethylbenzene; TCE; and xylene. In 1995, the California
    12 Regional Water Quality Control Board concluded that the operations at the PMC
    13 Source Property contaminated the soil and groundwater on the property, degrading
    14 the water quality. In 1999, soil and groundwater testing at the PMC Source Property
    15 found contamination with: benzene; p-cresol; and 2-4-dimethylphenol. Benzene was
    16 noted as being concentrated primarily in areas near former storage tanks, a loading
    17 area, and a storage area, and as migrating downgradient in the groundwater. In 2007,
    18 groundwater testing found contamination including benzene and PCE breakdown
    19 products, including TCE, which breaks down to 1,2-DCE, which in turn breaks down
    20 to vinyl chloride, which breaks down to ethylene which breaks down to acetylene.
    21 Groundwater analysis completed in the region indicates that benzene and toluene
    22 have migrated downgradient from the PMC Source Property.
    23         378. Because hazardous substances were deposited, stored, disposed of, or
    24 placed, or otherwise came to be located at the PMC Source Property, the PMC Source
    25 Property is a “facility” within the meaning of Section 101(9) of CERCLA, 42 U.S.C.
    26 § 9601(9).
    27         379. Upon information and belief, contaminants in the soil and in the
    28 groundwater from the soil at the PMC Source Property have migrated offsite in the


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     1 same general direction as the regional groundwater flow. Groundwater samples taken
     2 in 1999 found elevated levels of contaminants in offsite wells downgradient from the
     3 former cresylic acid plant.
     4                            iii.   Continuing Migration of Contaminants
     5         380. As alleged above, releases of contaminants have occurred at the PMC
     6 Source Property and are continuing to occur. The contaminants continue to migrate
     7 away from the property, posing a continuing threat to the regional groundwater and
     8 the health of area residents.
     9         381. Neither Ferro nor PMC has taken adequate steps to remediate the onsite
    10 and near-site soils, from which contaminants are migrating. Neither has adequately
    11 monitored the extent to which contaminants continue to migrate from the PMC
    12 Source Property into offsite groundwater. The PMC Source Property does not have a
    13 groundwater monitoring system in place that is sufficient to demonstrate that releases
    14 from the property to regional groundwater above health-based levels have been fully
    15 controlled.
    16         382. The PMC Source Property infrastructure is extremely complicated and
    17 the investigative history is incomplete. There is no complete conceptual site model
    18 for the property.
    19         383. Significant VOCs and semivolatile organic compounds (“SVOCs”) are
    20 present in soils at the PMC Source Property to depths of 40’bgs. Benzene, toluene,
    21 PCE, 1,1,2-TCA, and TCE have been detected up to a maximum of 48 ppm (30 feet
    22 bgs), 26 ppm (20 feet bgs), 2.9 ppm (2 feet bgs), 90 ppm (2 feet bgs), and 97 ppm (2
    23 feet bgs). In 1990, toluene was found at 26,000 µg/kg at 20 feet bgs. PCE in 2007 was
    24 found at 7,000 µg/kg at 30-45 feet bgs. High levels of 1,1-DCE were also found in
    25 deep soils.
    26         384. As with the investigations of soil and soil vapor impacts, the
    27 groundwater analytical history at the PMC Source Property is incomplete. The
    28 distribution of VOCs in the groundwater is poorly defined. Extremely high levels of


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     1 benzene and toluene and SVOCs in groundwater have frequently resulted in elevated
     2 method detection limits for VOCs which leaves open data gaps and no information as
     3 to the fate and transport of detected VOCs in soils. However, evidence from a
     4 downgradient site, OFRP, has confirmed that releases of benzene and toluene from
     5 the PMC Source Property are impacting offsite downgradient groundwater.
     6         385. In 1995, the Regional Water Quality Control Board determined that
     7 previous operations at the PMC Source Property had contaminated both soil and
     8 groundwater beneath the facility. In 2007, concentrations of 1,1-DCE, TCE,
     9 c-1,2-DCE, and benzene were detected in groundwater above MCLs.
    10         386. Given the expansive use of chemicals at the PMC Source Property over
    11 decades and the lack of existing data on soil and groundwater impacts, adequate site
    12 characterization is needed to fully characterize the vertical and horizontal impacts of
    13 contaminations in soil so that adequate source control can occur. Also, given the long
    14 operating history at this property, a groundwater monitoring system capable of
    15 evaluating the lateral and vertical extent of offsite contamination above health-based
    16 levels from this site is necessary. Groundwater wells installed on the OFRP site to the
    17 west and downgradient of the PMC Source Property found levels of benzene and
    18 toluene orders of magnitude above MCLs coming from upgradient. Upon
    19 information and belief, the source of contamination at the OFRP site is the PMC
    20 Source Property.
    21               4.     SNL PRPs Firmenich and Momentive
    22         387. Upon information and belief, releases of contamination have occurred
    23 from the Omega Chemical property, located at 12504 and 12512 Whittier Boulevard,
    24 Whittier, California, (the “Omega Chemical Property”).
    25                      a.    Source Property Ownership and Operation
    26         388. From 1976 to 1995, Omega Chemical (including a successor company
    27 formed in 1991, when Omega Chemical filed for bankruptcy) conducted chemical
    28 treatment operations on the property, including operations that included the storage,


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     1 consolidation, and treatment of commercial and industrial wastes, primarily solvent
     2 and refrigerant (Freons) waste.
     3         389. In 1987, Omega Chemical purchased the 12504 Whittier Boulevard
     4 property and the neighboring 12512 Whittier Boulevard property (the southern
     5 portion of the Omega Chemical Property). Van Owen Holdings LLC purchased the
     6 Omega Chemical Property in 2003.
     7                     b.      Disposal & Releases of Hazardous Substances
     8         390. Upon information and belief, significant quantities of hazardous
     9 substances, including isopropyl alcohol (“IPA”), were stored or were otherwise
    10 present in hazardous waste at the Omega Chemical Property. From 1976 to 1995,
    11 Omega Chemical conducted chemical treatment operations on the property, including
    12 operations at the Omega Chemical Property that included the storage, consolidation,
    13 and treatment of commercial and industrial wastes received from other entities,
    14 including Defendants Firmenich’s and Momentive’s predecessor-in-interest, MCP
    15 Industrial Food Products.
    16         391. Upon information and belief, Defendants Firmenich’s and Momentive’s
    17 predecessor-in-interest, MCP, owned or otherwise possessed hazardous waste,
    18 including flammable waste isopropyl alcohol from concentrate production processes
    19 conducted in connection with MCP’s flavoring and food processing plant in
    20 Anaheim, California, that was generated between 1989 and 1992.
    21         392. Hazardous waste manifests demonstrate that MCP intentionally
    22 provided for the treatment of its hazardous waste at the Omega Chemical Property, or
    23 otherwise arranged for the delivery of IPA to the property, shipping hazardous waste
    24 to the property between 1989 and 1992. The manifests, which purport to be executed
    25 by a representative of Omega Chemical, demonstrate that MCP’s hazardous waste
    26 was received at the Omega Chemical Property.
    27         393. According to EPA, there have been numerous instances of releases of
    28 hazardous substances to the soil and groundwater at and near the Omega Chemical


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     1 Property from spills and leaks of various chemicals at the Omega Chemical Property
     2 resulting in soil and groundwater contaminated with chlorinated and non-chlorinated
     3 solvents.
     4         394. Contaminants from the Omega Chemical Property are reported to have
     5 migrated offsite in the same general direction as the groundwater flow. EPA has
     6 concluded that VOCs, such as PCE and TCE, in soil and groundwater have migrated
     7 from the Omega Chemical Property. Upon information and belief, the rate and extent
     8 of this migration were increased and exacerbated by the presence of waste IPA, which
     9 MPA sent to the Omega Chemical Property in large quantities. IPA functions as a
    10 “co-solvent,” which increases the solubility of solvents, such as PCE and TCE, and
    11 facilitates movement of those solvents through soil and groundwater.
    12         395. In or around September 2012, on information and belief, EPA sent SNLs
    13 to Firmenich and Momentive, which, among other things, identify those Defendants
    14 as PRPs for the OU-2 Facility groundwater contamination and solicit offers for
    15 Firmenich and Momentive to perform the OU-2 Facility remedial design and
    16 remedial action and pay EPA’s unreimbursed response costs.
    17                            FIRST CLAIM FOR RELIEF
    18                            Contribution Under CERCLA
    19                  Against All Defendants Except Burke Street LLC
    20         396. Plaintiffs incorporate and re-allege Paragraphs 1 through 395 above, as
    21 though fully set forth herein.
    22         397. Each Defendant is a “person” within the meaning of Section 101(21) of
    23 CERCLA, 42 U.S.C. § 9601(21).
    24         398. Upon information and belief, each Defendant is a covered person within
    25 the meaning of one or more of Section 107(a)(1), (2), (3), or (4), 42 U.S.C.
    26 § 9607(a)(1)-(4).
    27         399. Upon information and belief, each of Defendants Phibro-Tech, Inc.,
    28 Firmenich, Inc., and Momentive Specialty Chemicals, Inc. is a covered person within


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      1 the meaning of Section 107(a)(3), as a person who by contract or agreement or
      2 otherwise arranged for the disposal or treatment of hazardous substances at a facility
      3 owned or operated by another entity, 42 U.S.C. § 9607(a)(3).
      4         400. Upon information and belief, each Defendant Source Property is a
      5 “facility” within the meaning of Section 101(9) of CERCLA, 42 U.S.C. § 9601(9).
      6         401. Upon information and belief, releases and/or threatened releases of
      7 hazardous substances into the environment have occurred, and in most cases are still
      8 occurring, at each Source Property within the meaning of Section 101(22) of
      9 CERCLA, 42 U.S.C. § 9602(22).
     10         402. Plaintiffs have entered into the OU-2 Consent Decree with the United
     11 States and the California Department of Toxic Substances Control memorializing a
     12 settlement under which Plaintiffs have resolved certain of their liability for the OU-2
     13 regional groundwater contamination.
     14         403. Plaintiffs are named as defendants in a companion complaint to the
     15 OU-2 Consent Decree, filed by the United States in Abex, asserting claims under
     16 CERCLA Sections 106 and 107 related to the releases and threatened releases of
     17 hazardous substances from the Omega Chemical property that have come to be
     18 located at OU-2.
     19         404. The costs for which Plaintiffs are liable under the OU-2 Consent Decree
     20 constitute necessary costs of response incurred in a manner consistent with the NCP
     21 under 42 U.S.C. § 9607(a)(4)(B) to remediate hazardous substances. These costs,
     22 which include but are not limited to millions of dollars that Plaintiffs have already
     23 expended to address the contamination contributed to the OU-2 Facility by
     24 Defendants, represent more than Plaintiffs’ allocable share of costs related to their
     25 releases or disposal of hazardous substances at the Site.
     26         405. Plaintiffs are entitled to contribution from all Defendants, other than
     27 Burke Street LLC, under Section 113(f) of CERCLA, 42 U.S.C. §§ 9613(f), for those
     28 Defendants’ respective equitable shares of all costs and damages incurred by


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      1 Plaintiffs that exceed Plaintiffs’ equitable share of the costs for which Plaintiffs are
      2 liable under the OU-2 Consent Decree.
      3         406. Plaintiffs are entitled to attorneys’ fees and to interest on the amount
      4 recovered on this claim pursuant to 42 U.S.C. § 9607(a)(2).
      5         407. Notice of this action is being provided to the Administrator of the
      6 Environmental Protection Agency and the United States Attorney General, pursuant
      7 to 42 U.S.C. § 9613(l).
      8                            SECOND CLAIM FOR RELIEF
      9 Abatement of Imminent and Substantial Endangerment Under RCRA – Against
     10 ExxonMobil Oil Corporation; Continental Development Company, LP through
     11 its surviving general partner Continental Heat Treating, Inc.; Continental Heat
     12       Treating, Inc.; Associated Plating Company, Inc.; APC Investment Co.;
     13   Associated Plating Company; Cheryl Golnick; Clare Golnick; Darrell Golnick;
     14   Gordon McCann; Lynnea McCann; Claudette Earl; Earl Mfg. Co., Inc.; Ferro
     15     Corp.; PMC Specialties Group, Inc.; Foss Plating Company, Inc.; Bodycote
     16      Thermal Processing, Inc.; Powerine Oil Company; Kekropia, Inc.; Palley
     17       Supply Co.; William Palley; Pilot Chemical Co.; Union Pacific Railroad
     18             Company; First Dice Road Company; and Phibro-Tech, Inc.
     19         408. Plaintiffs repeat and re-allege Paragraphs 1 through 407 above, as
     20 though fully set forth herein.
     21         409. Plaintiffs bring this claim for abatement of imminent and substantial
     22 endangerment to health or the environment pursuant to Section 7002 of RCRA, 42
     23 U.S.C. § 6972.
     24         410. Each of the RCRA Defendants is a person within the meaning of Section
     25 1004(15) of RCRA, 42 U.S.C. § 6903(15).
     26         411. Each of the RCRA Defendants is a past or present generator, past or
     27 present transporter, or past or present owner or operator of a solid waste treatment,
     28 storage, or disposal facility.


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      1         412. Each of the RCRA Defendants has contributed or is contributing to the
      2 past or present handling, storage, treatment, transportation, or disposal of a solid or
      3 hazardous waste, within the meaning of Sections 1004(3), 1004(5) and 1004(27) of
      4 RCRA, 42 U.S.C. §§ 6903(3), (5), (27).
      5         413. The RCRA Defendants have failed to implement adequate Source
      6 Control at the source properties with which they are associated, including but not
      7 limited to: cessation of improper waste handling, storage, and treatment procedures;
      8 remediation of soil and groundwater at the source property; monitoring of the spread
      9 of groundwater contamination away from the source property through the installation
     10 and operation of an adequate network of site boundary and offsite monitoring wells;
     11 reporting of monitoring well data; and implementation of groundwater containment
     12 systems to prevent additional contaminated groundwater above health-based levels
     13 from leaving the source property.
     14         414. As a result of the RCRA Defendants’ failure to implement adequate
     15 Source Control, groundwater contamination above health-based levels originating at
     16 the source properties with which they are associated has migrated and continues to
     17 migrate away from the Site, expanding the scope of the contamination. Additionally,
     18 the RCRA Defendants’ failure to implement adequate monitoring at and
     19 downgradient from the source properties has impeded assessment of the scope of the
     20 migration of contaminants downgradient from the source properties.
     21         415. The presence of the contaminants in the soil, saturated subsurface zone,
     22 and in the groundwater, the migration of those contaminants away from the source
     23 properties, and the RCRA Defendants’ failure to implement adequate Source Control
     24 presents or may present an imminent and substantial endangerment to human health
     25 or the environment.
     26         416. Each of the contaminants handled, stored, treated, transported, or
     27 disposed of by the RCRA Defendants (either directly or by contributing to the
     28 handling, storage, treatment, transportation, or disposal) is a solid waste because,


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      1 among other reasons, each of those contaminants is discarded material resulting from
      2 industrial or commercial operations.
      3         417. Each of the contaminants handled, stored, treated, transported, or
      4 disposed of by the RCRA Defendants (either directly or by contributing to the
      5 handling, storage, treatment, transportation, or disposal), when discarded, is a “solid
      6 waste”, and potentially a “hazardous waste”, as those terms are defined under RCRA
      7 because, among other reasons, each of those contaminants may pose a present or
      8 potential hazard to human health or the environment when improperly managed
      9 because of its quantity, concentration, or physical or chemical characteristics.
     10         418. Plaintiffs provided notice of the actual and threatened endangerment,
     11 injury and damage alleged herein by mailing Notices of Endangerment and Intent to
     12 Sue Pursuant to Resource Conservation and Recovery Act § 7002(a)(1)(B) (“RCRA
     13 Notices”) to EPA’s Administrator and Regional Administrator, the Director of
     14 California’s Department of Toxic Substances Control, and all RCRA Defendants.
     15         419. Each of the RCRA Defendants received a RCRA Notice on or before
     16 December 9, 2014.
     17         420. Plaintiffs waited at least ninety days after the RCRA Defendants’ receipt
     18 of the RCRA Notices before bringing this cause of action against each of them.
     19         421. Pursuant to Section 7002(a) of RCRA, 42 U.S.C. § 6972(a), by this
     20 action, Plaintiffs are entitled to an injunction ordering the RCRA Defendants to abate
     21 the imminent and substantial endangerment to health and the environment by
     22 determining the extent of offsite groundwater contamination resulting from handling
     23 of solid or hazardous waste and implementing soil and groundwater source control
     24 sufficient to prevent continued migration of hazardous constituents to groundwater
     25 above health-based levels.
     26         422. Plaintiffs are also entitled to the costs of litigation, including private
     27 attorney general fees pursuant to California Code of Civil Procedure § 1021.5 and
     28


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      1 attorney fees, expert witness fees, and other costs pursuant to Section 7002(e) of
      2 RCRA, 42 U.S.C. § 6972(e).
      3         423. Notice of this action is being provided to the EPA Administrator and the
      4 United States Attorney General, pursuant to Section 7002(b)(2)(F) of RCRA, 42
      5 U.S.C. § 6972(b)(2)(F).
      6                             THIRD CLAIM FOR RELIEF
      7    Declaratory Judgment Under Federal Law – Against All Defendants Except
      8                                    Burke Street LLC
      9         424. Plaintiffs repeat and re-allege Paragraphs 1 through 423 above, as
     10 though fully set forth herein.
     11         425. An actual and substantial controversy has arisen between Plaintiffs and
     12 Defendants regarding their respective rights and obligations for the Response Costs
     13 that have been incurred and the Response Costs that will be incurred to respond to the
     14 releases of contaminants from the Source Property facilities.
     15         426. Pursuant to the Federal Declaratory Judgments Act, 28 U.S.C. § 2201,
     16 and CERCLA § 113(g)(2), Plaintiffs are entitled to a declaratory judgment holding
     17 Defendants, except Burke Street, LLC, liable under Section 113(f) of CERCLA, 42
     18 U.S.C. § 9613(f), for contribution for those Defendants’ respective equitable shares of
     19 all costs and damages incurred by Plaintiffs.
     20                                  PRAYER FOR RELIEF
     21         WHEREFORE, Plaintiffs demand judgment in its favor and against
     22 Defendants, to the extent authorized by law, as follows:
     23         (1)    ON THE FIRST CLAIM FOR RELIEF, for contributon for all costs and
     24 damages incurred by Plaintiffs, including pre-judgment interest thereon as allowed by
     25 law, that exceed Plaintiffs’ equitable share of the costs for which Plaintiffs are liable
     26 under the OU-2 Consent Decree;
     27
     28


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      1         (2)   ON THE SECOND CLAIM FOR RELIEF, for an injunction ordering
      2 the RCRA Defendants to abate the imminent and substantial endangerment to health
      3 and the environment; and
      4         (3)   ON THE THIRD CLAIM FOR RELIEF, for a judicial declaration that
      5 Defendants are liable for their respective equitable shares of all costs and damages
      6 incurred by Plaintiffs, including pre-judgment interest thereon as allowed by law, that
      7 exceed Plaintiffs’ equitable share of the costs for which Plaintiffs are liable under the
      8 OU-2 Consent Decree;
      9         (4)   ON THE FIRST AND SECOND CLAIMS FOR RELIEF, for attorneys’
     10 fees;
     11         (5)   AS TO ALL CLAIMS FOR RELIEF, for all costs and expenses incurred
     12 in this action, to the extent provided for by law;
     13         (6)   AS TO ALL CLAIMS FOR RELIEF, for such other and further relief as
     14 the Court may deem just and proper.
     15 DATED: November 1, 2016                  PROSKAUER ROSE LLP
     16
     17                                          By: /s/ Nancy Sher Cohen
     18                                          Attorneys for Plaintiffs
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